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Systematic review and meta-analysis of glyphosate exposure and risk of
lymphohematopoietic cancers
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    ABSTRACT                                                                                                                                              ARTICLE HISTORY
    This systematic review and meta-analysis rigorously examines the relationship between glyphosate                                                      Received 28 November 2013
    exposure and risk of lymphohematopoietic cancer (LHC) including NHL, Hodgkin lymphoma (HL), multiple
                                                                                                                                                          KEYWORDS
    myeloma (MM), and leukemia. Meta-relative risks (meta-RRs) were positive and marginally statistically                                                 Glyphosate; non-Hodgkin
    signiﬁcant for the association between any versus no use of glyphosate and risk of NHL (meta-RR D 1.3,                                                lymphoma; Hodgkin
    95% conﬁdence interval (CI) D 1.0–1.6, based on six studies) and MM (meta-RR D 1.4, 95% CI D 1.0–1.9;                                                 lymphoma; multiple
    four studies). Associations were statistically null for HL (meta-RR D 1.1, 95% CI D 0.7–1.6; two studies),                                            myeloma; leukemia;
    leukemia (meta-RR D 1.0, 95% CI D 0.6–1.5; three studies), and NHL subtypes except B-cell lymphoma                                                    hematologic malignancies;
    (two studies each). Bias and confounding may account for observed associations. Meta-analysis is                                                      herbicides; meta-analysis
    constrained by few studies and a crude exposure metric, while the overall body of literature is
    methodologically limited and ﬁndings are not strong or consistent. Thus, a causal relationship has not
    been established between glyphosate exposure and risk of any type of LHC.


Introduction
                                                                                               carcinoma, hemangiosarcoma, and pancreatic islet-cell ade-
The broad-spectrum herbicide glyphosate (N-(phosphono-                                         noma in rodents, as well as mechanistic evidence.
methyl)glycine), as a constituent of more than 750 products for                                    To incorporate the IARC classiﬁcation into the European
agricultural, forestry, urban, and residential applications, is the                            Union review of glyphosate, BfR was commissioned by the Ger-
most commonly used herbicide in the world. Therefore, under-                                   man government and the European Food Safety Authority
standing its potential human carcinogenicity has major impli-                                  (EFSA) to review the IARC assessment.[7] In its subsequent
cations for public health and risk assessment.                                                 revised assessment report, BfR reached the conclusion that “no
    In 2014, the German Federal Institute for Risk Assessment                                  carcinogenic risk to humans is to be expected from glyphosate
(BfR), on behalf of the European Union, reviewed all toxicolog-                                if it is used in the proper manner for the intended purpose.”[8]
ical studies of glyphosate in laboratory animals, as well as over                              This assessment was supported by all European Union member
30 epidemiological studies in humans, and concluded that “the                                  states except one (Sweden) and by EFSA.[9] The WHO also has
available data do not show carcinogenic or mutagenic proper-                                   established an expert taskforce to re-evaluate the available data
ties of glyphosate” and “there is no validated or signiﬁcant rela-                             on glyphosate and report its ﬁndings to JMPR.[10]
tionship between exposure to glyphosate and an increased risk                                      In summarizing the epidemiological evidence, IARC stated
of non-Hodgkin lymphoma or other types of cancer.”[1,2] This                                   that “case-control studies in the USA, Canada, and Sweden
conclusion was consistent with those previously reached by the                                 reported increased risks for NHL associated with exposure to
United States Environmental Protection Agency (U.S. EPA)                                       glyphosate. The increased risk persisted in the studies that
and the Joint Meeting on Pesticide Residues (JMPR), sponsored                                  adjusted for exposure to other pesticides. The [Agricultural
by the Food and Agriculture Organization of the United                                         Health Study] cohort did not show an excess of NHL. The
Nations and the World Health Organization (WHO), which                                         Working Group noted that there were excesses reported for
concluded that glyphosate was unlikely to be carcinogenic to                                   multiple myeloma in three studies; however, they did not
humans.[3–5]                                                                                   weight this evidence as strongly as that of NHL because of the
    By contrast, the International Agency for Research on Can-                                 possibility that chance could not be excluded; none of the risk
cer (IARC) in 2015 classiﬁed glyphosate as “probably carcino-                                  estimates were statistically signiﬁcant nor were they adjusted
genic to humans” (Group 2A). In arriving at this classiﬁcation,                                for other pesticide exposures.”[6] A recent meta-analysis con-
IARC characterized evidence of carcinogenicity in humans as                                    ducted by investigators from IARC[11] found a statistically sig-
“limited,” based on the data available for non-Hodgkin lym-                                    niﬁcant positive association between glyphosate use and NHL
phoma (NHL).[6] IARC considered the evidence of carcinoge-                                     risk (meta-relative risk [RR] D 1.5, 95% conﬁdence interval
nicity in experimental animals as “sufﬁcient.” The latter                                      [CI] D 1.1–2.0), based on six studies.[12–17] The same meta-
determination was based on the occurrence of renal tubule                                      analysis also found a signiﬁcant positive association between

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glyphosate use and risk of B-cell NHL, based on two                   prevalence ratio) of LHC, including NHL, HL, MM, leukemia,
studies.[14,18]                                                       and any subtypes of these disease entities, associated with indi-
    Although Schinasi and Leon[11] stated that in their meta-         vidual-level glyphosate exposure, along with corresponding
analysis, “[i]n an effort to use the most unbiased estimate,          interval estimates (e.g., 95% conﬁdence intervals [CI]) or sufﬁ-
[they] extracted the most adjusted effect estimate,” two or argu-     cient raw data to calculate RRs and CIs. Reviews, commentar-
ably three of the RR estimates that they selected for inclusion       ies, letters to the editor without original data, and non-human
were not the most highly adjusted estimates reported by the           studies were excluded, as were articles that did not report quan-
original authors.[13–15] Instead, in a personal communication         titative measures of association between glyphosate exposure
(11 August 2015), Dr. Schinasi indicated that other estimates         (e.g., those assessing broadly deﬁned categories of pesticides or
were selected based on considerations of consistency of esti-         herbicides) and risk of LHC (e.g., those assessing other cancers
mates across meta-analyses of other pesticides, secondary anal-       or all malignancies combined).
yses, and statistical modeling approach.                                  To identify all potentially relevant articles, we searched
    Meta-analyses are not intended to identify, validate, or dis-     MEDLINE via PubMed (Supplementary methods), with addi-
pute causal relationships. Although they can be useful in pro-        tional targeted searches in Web of Science and Google Scholar,
viding a summary measure of association and identifying               along with a review of the bibliographies of recent review
heterogeneity among research results, they can obscure impor-         articles. Based on a review of titles and abstracts to exclude
tant differences in methods and results among studies that can        articles without pertinent information, followed by a review of
be more thoroughly evaluated in a detailed qualitative review.        the full text of relevant articles, 19 articles (as well as one letter
Schinasi and Leon[11] did not assess study quality and did not        to the editor[23] that contained additional results from a study
speciﬁcally address the potential impact of study limitations on      described in another one of the included articles,[24] and one
the ﬁndings for glyphosate, nor did they discuss whether the          abstract[25] that preceded a full-length article[26]) were ulti-
apparent association between glyphosate and NHL risk is likely        mately deemed eligible for inclusion (Appendix Fig. A1). Two
to be causal. On the other hand, Mink et al.[19] conducted a          authors independently reviewed and agreed upon the list of eli-
qualitative systematic review, without a meta-analysis, of epide-     gible articles.
miologic studies of glyphosate and various cancers, including             Of the 19 articles reporting on the association between glyph-
NHL. Taking into account potential sources of error, including        osate and risk of speciﬁc forms of LHC, 12 pertained to NHL or
selection bias, confounding, and especially exposure misclassiﬁ-      its subtypes (including hairy-cell leukemia, which is a subtype of
cation, the authors concluded that they “found no consistent          B-cell NHL),[12–18,24,27–30] 2 pertained to HL,[17,31] 6 pertained to
pattern of positive associations indicating a causal relationship     MM,[12,17,26,32–34] and 3 pertained to leukemia.[12,35,36]
between total cancer (in adults or children) or any site-speciﬁc
cancer and exposure to glyphosate.”
                                                                      Evaluation of study characteristics and quality
    Given the conﬂicting ﬁndings surrounding this issue, we
conducted this systematic review and meta-analysis to examine         From each eligible study, we extracted the following informa-
more rigorously the relationship between exposure to glypho-          tion: ﬁrst author, publication year, study location, study design,
sate and risk of NHL, as well as major histopathological sub-         study years, source population, number of subjects, proportion
types of NHL, in human epidemiologic studies. Because NHL             of proxy respondents, exposure assessment method, outcome
is often considered alongside other lymphohematopoietic can-          assessment method, confounders adjusted, number of subjects
cers (LHC), whose ever-changing classiﬁcation systems now             in each exposure category, and RR estimates with CIs.
characterize some leukemias and multiple myeloma (MM) as                 In addition to summarizing study characteristics, we qualita-
NHL subtypes,[20] we also included Hodgkin lymphoma (HL),             tively evaluated the methodological quality of each study in
MM, and leukemia in this review. Despite the limitations of           terms of its potential for selection bias, information bias/expo-
quantitative meta-analysis for observational epidemiology,[21,22]     sure misclassiﬁcation, confounding, reporting bias, and other
we conducted a meta-analysis largely to determine the impact          issues affecting validity. Potential for bias was evaluated based
of using RR estimates not used in the meta-analysis by Schinasi       on subject identiﬁcation strategy, participation rates, investiga-
and Leon.[11] In addition, we conducted a qualitative evaluation      tor blinding, assessment methods for exposures, outcomes, and
of potential for error and bias. Thus, this article goes beyond       potential confounders, statistical approach, reporting of results,
previous work by examining all types of LHC, conducting a             and other considerations.[37–39]
new meta-analysis, providing a detailed evaluation of study
quality and potential for bias, and synthesizing the overall epi-
                                                                      Selection of data for meta-analysis
demiologic evidence for a causal association between glypho-
sate and LHC risk.                                                    From each publication, we selected an RR point estimate for
                                                                      inclusion in the meta-analysis based on a set of rules speciﬁed a
                                                                      priori. First, if unadjusted and adjusted RRs were reported in a
Methods                                                               publication or across multiple publications from the same study
                                                                      population, the most fully adjusted RR was selected for inclu-
Literature search
                                                                      sion. The most fully adjusted RR was deﬁned as the RR estimate
Sources eligible for inclusion in the meta-analysis were original     that took into consideration, by restriction or statistical adjust-
articles describing epidemiological studies that provided             ment, the most covariates that appeared to be confounders.
numeric point estimates of the RR (i.e., odds ratio, rate ratio, or   The rationale for choosing the most fully adjusted RR was
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Figure 1. Forest plots of relative risk (RR) estimates and 95% conﬁdence intervals (CIs) for the association between glyphosate exposure and risk of non-Hodgkin lym-
phoma. Meta-RRs were identical in random-effects and ﬁxed-effects models.

based on the assumption that the adjusted covariates were                           for publication, with a tendency toward submission and publi-
found by the authors to act as confounders by altering the esti-                    cation of studies that report larger, statistically signiﬁcant asso-
mate of association (either directly or by acting as a surrogate                    ciations[43]) by using the linear regression approach of Egger
for another, unmeasured confounder); however, some authors                          et al.,[44] which measures the degree of funnel plot asymmetry.
did not explain how confounders were selected, so this assump-                      We also estimated meta-RRs corrected for publication bias by
tion may not hold for all studies. If an adjusted RR was not                        imputing results for missing studies using the trim-and-ﬁll pro-
reported, the unadjusted (crude) RR was included as reported                        cedure developed by Duval and Tweedie,[45] which iteratively
by the authors or as calculated from available raw data. Second,                    trims asymmetric studies from the overbalanced side of a fun-
if multiple eligible publications were derived from the same                        nel plot to locate the unbiased effect, and then ﬁlls the plot by
study population, the RR from the most recent publication was                       re-inserting the trimmed studies on the original side of the
selected for inclusion unless it was based on a subset of the                       mean effect, along with their imputed counterparts on the
overall eligible study population, in which case the RR based on                    opposite side. Again, we used these approaches with the under-
the most complete study population was included. Third, sub-                        standing that they have limited power to detect publication bias
ject to the ﬁrst two rules, the RR for dichotomous exposure                         based on few studies.[42]
with the largest number of exposed cases was selected for inclu-                       The meta-analysis was conducted using Comprehensive
sion in the meta-analysis. In a few instances where another RR                      Meta-Analysis Software (Biostat, Inc., Englewood, NJ, USA).
from a given study nearly met these inclusion criteria but was                      All calculated meta-RRs and 95% CIs were conﬁrmed using
superseded by a more fully adjusted, more recent, or more                           Episheet (www.krothman.org/episheet.xls).
robust RR, the alternative RR was considered in secondary
analyses.
   RRs for multiple categories of exposure also were extracted                      Sensitivity analysis
to enable qualitative evaluation of exposure-response trends                        To evaluate the robustness of results to various potential sour-
(based on the assumption, discussed later, that studies were                        ces of heterogeneity, we planned a priori to conduct a sensitiv-
able to distinguish among exposure levels). However, because                        ity analysis with stratiﬁcation of studies by study design (case-
no two studies used the same set of three or more categories to                     control vs. cohort), source of controls (population-based vs.
classify glyphosate exposure, these estimates could not be com-                     hospital-based), gender (males only vs. males and females),
bined in meta-analysis.                                                             geographic region (North America vs. Europe), and time period
                                                                                    of cancer diagnosis (1980s, 1990s, or 2000s, with studies con-
Statistical approach                                                                tributing to a given stratum if any part of the case diagnosis
                                                                                    period was in a given decade).
For associations with at least two independent RR estimates
from different study populations, we estimated both ﬁxed-
effects and random-effects meta-RRs with 95% CIs. We                                Overall evaluation
used comparison of meta-RR estimates from ﬁxed-effects                              To guide a qualitative assessment of the combined epidemio-
and random-effects models as one approach to the evalua-                            logic evidence for a causal relationship between glyphosate
tion of the impact of between-study heterogeneity on the                            exposure and risk of LHC, we used Sir Austin Bradford Hill’s
meta-RRs. As a quantitative measure of between-study het-                           “viewpoints” as a general framework.[46] Because this review is
erogeneity, we calculated I2, which represents the percentage                       restricted to the epidemiologic literature, our consideration of
of between-study variance in RRs that is attributable to                            the biological plausibility of the association and the coherence
study heterogeneity (as opposed to chance).[40] We also                             of the human, animal, and mechanistic evidence was limited.
tested for statistically signiﬁcant between-study heterogene-
ity based on Cochran’s Q statistic,[41] although this test has
low power to detect modest heterogeneity across a limited                           Results
number of studies.[42]
                                                                                    Study characteristics and overlap
   In the absence of statistically signiﬁcant heterogeneity, the
presence of at least one statistically signiﬁcant association, I2 <                 Studies of NHL and subtypes
50%, and at least four contributing studies, we evaluated evi-                      Twelve studies from seven independent study populations,
dence of publication bias (i.e., non-random selection of studies                    including eleven case-control studies and one prospective
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cohort study, evaluated the relationship between glyphosate               As described in the section on NHL studies, Orsi et al.[17]
use and risk of NHL and/or its histopathological sub-                 was a hospital-based case-control study set in Europe (France),
types.[12–18,24,27–30] Characteristics of these studies are sum-      restricted to males, with case ascertainment in the 2000s, par-
marized in Table 1. All of the studies considered glyphosate          ticipation rates > 90%, and no proxy respondents. This study
use in agricultural operations or settings, and most evaluated        classiﬁed six HL cases as exposed to glyphosate. Karunanayake
overall NHL as an outcome. The exceptions were Cocco                  et al.[31] was a population-based case-control study set in North
et al.,[18] which analyzed B-cell lymphoma and other NHL              America (Canada), restricted to males, with case ascertainment
subtypes, but not overall NHL, and Nordstrom et al.,[30]              in the 1990s, participation rates of 68% for cases and 48% for
which included only hairy-cell leukemia. Eriksson et al.[14]          controls, and an unspeciﬁed proportion of proxy respondents.
presented results for B-cell lymphoma and other NHL sub-              In this study, 38 HL cases were classiﬁed as glyphosate-exposed.
types, as well as for overall NHL, while Orsi et al.[17]
included results for overall NHL and several speciﬁc NHL
                                                                      Studies of MM
subtypes.
   De Roos et al.[13] combined data from Cantor et al.[24] with       Six studies from four independent study populations, including
data from two other studies that did not independently report         four case-control studies and two prospective cohort studies,
associations between glyphosate use and NHL risk;[47,48] there-       evaluated the association between glyphosate use and risk of
fore, we did not further consider Cantor et al.[24] as a separate     MM.[12,17,26,32–34] These studies are described in Table 1. A
study. Lee et al.[29] was based on Cantor et al.[24] and Hoar         cross-sectional analysis within a subset of the Agricultural
Zahm et al.,[48] but not Hoar et al.,[47] and stratiﬁed results by    Health Study Cohort examined the association between glypho-
asthma status (with no apparent interaction between glypho-           sate use and risk of monoclonal gammopathy of unknown sig-
sate exposure and asthma); therefore, results from De Roos            niﬁcance (MGUS), an MM precursor;[50] this study was not
et al.[13] took precedence in our analysis over those from Lee        included in the present review.
et al.[29] The study by Hardell et al.[15] pooled data from two           The studies by De Roos et al.[12] and Sorahan[26] were based
other studies that reported on glyphosate use and NHL                 on virtually identical datasets from the Agricultural Health
risk.[27,30] Consequently, the latter two studies were not consid-    Study cohort (except that the dataset used by Sorahan was
ered further with respect to NHL, although Nordstrom et al.[30]       stripped of data on race, state of residence, and applicator type
was evaluated separately with respect to hairy-cell leukemia.         due to privacy concerns; these differences should not have
Based on the same study population as McDufﬁe et al.[16]              affected the results substantively). Because the Sorahan[26]
(except for four fewer cases excluded after pathology review),        study included all eligible cohort members, whereas the De
Hohenadel et al.[28] reported associations with use of glyphosate     Roos et al.[12] study was based on a restricted subset of the
with or without malathion, but not glyphosate overall; there-         cohort with complete data,[51] the Sorahan[26] results were pri-
fore, the results from McDufﬁe et al.[16] were prioritized in our     oritized in our analysis of MM. Brown et al.[32] employed the
analysis.                                                             same methods and source population as Cantor et al.,[24] which
   The seven independent studies ranged markedly in size with         was included in the pooled analysis of NHL by De Roos
respect to the number of NHL cases classiﬁed as exposed to            et al.[13] Pahwa et al.[34] and Kachuri et al.[33] conducted over-
glyphosate (based on reported use): Cocco et al.,[18] 4 B-cell        lapping analyses in the same Canadian source population as
lymphoma cases exposed; Hardell et al.,[15] 8 exposed; Orsi           McDufﬁe et al.,[16] Hohenadel et al.,[28] and Karunanayake
et al.,[17] 12 exposed; Eriksson et al.,[14] 29 exposed; De Roos      et al.[31] Pahwa et al.[34] included more controls in their analy-
et al.,[13] 36 exposed; McDufﬁe et al.,[16] 51 exposed; De Roos       sis, but these controls were excluded from Kachuri et al.[33]
et al.,[12] 71 exposed in the total eligible cohort. Four studies     because they were younger than any enrolled MM cases (29
were based in Europe[14,15,17,18] and three in North Amer-            years) and thus did not contribute meaningfully to the analysis.
ica[12,13,16] (Table 1). Four of the case-control studies were pop-   Kachuri et al.[33] also controlled for more confounders, and
ulation-based,[13–16] one was hospital-based,[17] and one             therefore was prioritized in our analysis.
included a mixture of population-based and hospital-based                 With respect to glyphosate use, the four independent studies
cases and controls.[18] Four studies were restricted to               of MM included, respectively, 5 exposed cases,[17] 11 exposed
males,[13,15–17] while the rest included males and females. Two       cases,[32] 24 exposed cases,[26] and 32 exposed cases.[33] All but
studies conducted at least some case ascertainment during the         one study, which was based in France,[17] were conducted in
1980s,[13,15] ﬁve during the 1990s,[12,14–16,18] and four during      North America, and all except one[26] were restricted to males.
the 2000s[12,14,17,18] (categories are overlapping). For reference,   One of the two case-control studies was population-based[32]
glyphosate entered the U.S. and European commercial markets           and the other was hospital-based.[17] Case ascertainment took
in 1974.[49]                                                          place during the early 1980s in one study,[32] at least partly dur-
                                                                      ing the 1990s in two studies,[26,33] and at least partly during the
                                                                      2000s in two studies.[17,26]
Studies of HL
Two case-control studies estimated the OR between glyphosate          Studies of leukemia
use and risk of HL.[17,31] Characteristics of these studies are       Two case-control studies and one prospective cohort study inves-
summarized in Table 1. The study by Karunanayake et al.[31]           tigated the relationship between glyphosate use and risk of leuke-
used the same methods and source population as McDufﬁe                mia.[12,35,36] Key characteristics of these studies are provided in
et al.,[16] but focused on HL rather than NHL.                        Table 1. The study by Brown et al.[35] used the same methods
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      Table 1. Design characteristics of studies of glyphosate exposure and risk of lymphohematopoietic cancer (LHC), including non-Hodgkin lymphoma (NHL), NHL subtypes, Hodgkin lymphoma (HL), multiple myeloma (MM), and
      leukemia.
       Authors               Year   Outcomes studied            Study location         Study design           Study years          Source population            Subject identiﬁcation                Subject participation                 Subjects (n)                     Proxy respondents

       Brown et al.[35]      1990   Leukemia (including         United States (Iowa    Population-based       1980–1983            White men aged              Cases: Iowa Tumor Registry and       Cases: 86%                            Cases: 578                       Cases: 238 (41%)
                                      myelodysplasias)           and Minnesota)         case-control                                30 years in Iowa and         special surveillance of Minnesota   Controls: 77% random digit            Controls: 1,245                  Controls: 425 (34%)
                                                                                                                                    Minnesota, excluding         hospital and pathology                dialing, 79% Medicare, 77%          Supplemental interview: 86       Supplemental
                                                                                                                                    Minneapolis, St. Paul,       laboratory records                    proxies for deceased                  cases, 203 controls              interview, 63 (73%)
                                                                                                                                    Duluth, and Rochester       Controls: random-digit dialing if    Supplemental interview: 93%                                              cases, 57 (28%)
                                                                                                                                                                 aged < 65 years, Medicare ﬁles        cases, 96% controls                                                    controls
                                                                                                                                                                 if aged  65 years, state death
                                                                                                                                                                 certiﬁcate ﬁles if deceased
       Brown et al.[32]      1993   MM                          United States (Iowa)   Population-based       1981–1984            White men aged              Cases: Iowa Health Registry          Cases: 84%                            Cases: 173                       Cases: 72 (42%)
                                                                                        case-control                                30 years in Iowa            Controls: random-digit dialing if    Controls: 78% overall                 Controls: 650                    Controls: 198 (30%)
                                                                                                                                                                 aged < 65 years, Medicare ﬁles
                                                                                                                                                                 if aged  65 years, state death
                                                                                                                                                                 certiﬁcates if deceased
       Cantor et al.[24]     1992   NHL                         United States (Iowa    Population-based       1980–1983            White men aged              Cases: Iowa State Health Registry    Cases: 89%                            Cases: 622                       Cases: 184 (30%)
                                                                 and Minnesota)         case-control                                30 years in Iowa and         and special surveillance of         Controls: 77% random-digit            Controls: 1245                   Controls: 425 (34%)
                                                                                                                                    Minnesota, excluding         Minnesota hospital and               dialing, 79% Medicare, 77%
                                                                                                                                    Minneapolis, St. Paul,       pathology laboratory records         proxies for deceased
                                                                                                                                    Duluth, and Rochester       Controls: random-digit dialing if
                                                                                                                                                                 aged < 65 years, Medicare ﬁles
                                                                                                                                                                 if aged  65 years, state death
                                                                                                                                                                 certiﬁcate ﬁles if deceased
       Cocco et al.[18]      2013   B-cell NHL                  Europe (Czech          Population- and        1998–2004            Persons aged  17 years      Cases: NR                            Cases: 88% overall; 90% Czech         Cases: 2348                      None
                                                                  Republic, France,     hospital-based                               in Germany and Italy       Controls: random sampling of          Republic, 91% France, 87%            Controls: 2462
                                                                  Germany, Ireland,     case-control                                 general populations,        population registers in Germany      Germany, 90% Ireland, 93% Italy,
                                                                  Italy, and Spain)                                                  and in referral areas of    and Italy; recruitment from          82% Spain
                                                                                                                                     participating hospitals     hospital departments for            Controls: 69% overall, 81%
                                                                                                                                     in Czech Republic,          infectious and parasitic (17.6%),    hospital-based, 52% population-
                                                                                                                                     France, Ireland, and        mental and nervous (14.6%),          based; 60% Czech Republic, 74%
                                                                                                                                     Spain                       circulatory (8.7%), digestive        France, 44% Germany, 75%
                                                                                                                                                                 (7.1%), endocrine and metabolic      Ireland, 66% Italy, 96% Spain
                                                                                                                                                                 (4.1%), respiratory (3.9%), and
                                                                                                                                                                 several other conditions (33.2%),
                                                                                                                                                                 excluding cancer, in Czech
                                                                                                                                                                 Republic, France, Ireland, and
                                                                                                                                                                 Spain
       De Roos et al.[13]    2003   NHL                         United States          Population-based       1979–1986            White men aged              Cases: Nebraska Lymphoma Study       Cases: 91% Nebraska (93% living,      Cases: 650 (in analyses of       Cases: 201 (30.9%) (in
                                                                 (Nebraska, Iowa,       case-control                                21 years in one of the       Group and area hospitals; Iowa        89% deceased); 89% Iowa and          multiple pesticides)             analyses of multiple
                                                                 Minnesota, and         (pooled analysis of                         66 counties of eastern       State Health Registry; special        Minnesota; 96% Kansas               Controls: 1933 (in analyses of    pesticides)
                                                                 Kansas)                3 studies)                                  Nebraska; white men          surveillance of Minnesota           Controls: 85% Nebraska; 77%            multiple pesticides)            Controls: 767 (39.7%)
                                                                                                                                    aged  30 years in Iowa      hospital and pathology                random-digit dialing, 79%                                             (in analyses of
                                                                                                                                    and Minnesota,               laboratory records; University of     Medicare, 77% deceased                                                multiple pesticides)
                                                                                                                                    excluding Minneapolis,       Kansas Cancer Data Service            (proxies) Iowa and Minnesota;
                                                                                                                                    St. Paul, Duluth, and        registry                              93% Kansas
                                                                                                                                    Rochester; white men        Controls: random-digit dialing if    Analysis restricted to subjects who
                                                                                                                                    aged  21 years in           aged < 65 years, Medicare ﬁles        lived or worked on a farm before
                                                                                                                                    Kansas                       if aged  65 years, state death       18 years of age (% NR); analysis
                                                                                                                                                                 certiﬁcate ﬁles if deceased           of multiple pesticides restricted
                                                                                                                                                                                                       to subjects with non-missing
                                                                                                                                                                                                       data (75% cases, 75% controls)
       De Roos et al.[12]    2005   LHC, NHL, MM, leukemia      United States (Iowa    Prospective cohort     1993–1997            Private and commercial       Pesticide applicators identiﬁed      298 subjects (0.5%) lost to follow-   Eligible cohort: 36,509–49,211   None
                                                                 and North Carolina)                            through 2001         pesticide applicators in    when seeking a state-issued           up or with no person-time             in analyses adjusted for
                                                                                                              Median D 6.7 years     Iowa and North Carolina     restricted-use pesticide license;     contributed                           demographics and lifestyle
                                                                                                                                     who were licensed to        invited to complete the             > 80% of eligible pesticide           30,613–40,719 in analyses
                                                                                                                                     apply restricted-use        enrollment questionnaire at the       applicators enrolled in study by      additionally adjusted for
                                                                                                                                     pesticides                  licensing facility                    completing on-site                    other pesticides
                                                                                                                                                                                                       questionnaire
                                                                                                                                                                                                     44% of applicators completed
                                                                                                                                                                                                       take-home questionnaire
                                                                                                                                                                                                                                                                                                     Case 3:16-md-02741-VC Document 653-8 Filed 10/28/17 Page 7 of 29




       Eriksson et al.[14]   2008   NHL, B-cell NHL, SLL/CLL,   Europe (Sweden)        Population-based       1999–2002            Adults aged 18–74 years      Cases: contact with treating         Cases: 81%                            Cases: 995                       None
                                     FL grades I-III, DLBCL,                            case-control                                in 4 of 7 health service     physicians and pathologists         Controls: 65% (92% of initially       Controls: 1016
                                     other speciﬁed B-cell                                                                          regions in Sweden           Controls: national population          enrolled controls with 71%
                                     NHL, unspeciﬁed B-cell                                                                         associated with              registry                              participation)
                                     NHL, T-cell NHL,                                                                               university hospitals in
                                     unspeciﬁed NHL                                                                                 Lund, Link€oping,
                                                                                                                                                       
                                                                                                                                    €
                                                                                                                                    Orebro,  and Umea
      Table 1. (Continued )
       Authors              Year   Outcomes studied           Study location        Study design           Study years   Source population           Subject identiﬁcation                    Subject participation                Subjects (n)          Proxy respondents

       Hardell and          1999   NHL                        Europe (Sweden)       Population-based       1987–1990     Men aged  25 years in      Cases: regional cancer registries        Cases: 91% (91% living, 92%          Cases: 404           Cases: 177 (44%)
        Eriksson[27]                                                                 case-control                         the four northernmost      Controls: national population             deceased)                           Controls: 741        Controls: NR (»44%;
                                                                                                                          counties of Sweden and      registry if living, national registry   Controls: 84% (83% living, 85%                             matched to cases)
                                                                                                                          three counties in mid-      for causes of death if deceased          deceased)
                                                                                                                          Sweden
       Hardell et al.[15]   2002   NHL including hairy-cell   Europe (Sweden)       Population-based       1987–1990     Men aged  25 years in      Cases: regional cancer registries        Cases: 91%                           Cases: 515           Cases: »35% (NR)
                                    leukemia                                         case-control                         the four northernmost       for NHL, national cancer registry       Controls: 84%                        Controls: 1141       Controls: »29% (NR)
                                                                                                                          counties of Sweden and      for hairy-cell leukemia
                                                                                                                          three counties in mid-     Controls: national population
                                                                                                                          Sweden (for NHL) or in      registry, national registry for
                                                                                                                          the entire country of       causes of death if deceased
                                                                                                                          Sweden (for hairy-cell
                                                                                                                          leukemia)
       Hohenadel            2011   NHL                        Canada (Alberta,      Population-based       1991–1994     Men aged  19 years in      Cases: hospital records in Quebec,       Cases: 67%                           Cases: 513           Cases: 110 (21%)
        et al.[28]                                             British Columbia,     case-control                         Alberta, British            cancer registries in all other          Controls: 48%                        Controls: 1506       Controls: 220 (15%)
                                                               Manitoba, Ontario,                                         Columbia, Manitoba,         provinces                               Based on postal codes,
                                                               Quebec, and                                                Ontario, Quebec, and       Controls: provincial health                respondents were not more or
                                                               Saskatchewan)                                              Saskatchewan                insurance records in Alberta,             less likely than non-respondents
                                                                                                                                                      Saskatchewan, Manitoba, and               to live in a rural area.
                                                                                                                                                      Quebec; computerized
                                                                                                                                                      telephone listings in Ontario;
                                                                                                                                                      voter lists in British Columbia
       Kachuri et al.[33]   2013   MM                         Canada (Alberta,      Population-based       1991–1994     Men aged  19 years (      Cases: hospital records in Quebec,       Cases: 58%                           Cases: 342           Cases: 103 (30%)
                                                               British Columbia,     case-control                         30 years in analysis) in    cancer registries in all other          Controls: 48%                        Controls: 1357       Controls: 202 (15%)
                                                               Manitoba, Ontario,                                         Alberta, British            provinces                               Based on postal codes,
                                                               Quebec, and                                                Columbia, Manitoba,        Controls: provincial health                respondents were not more or
                                                               Saskatchewan)                                              Ontario, Quebec, and        insurance records in Alberta,             less likely than non-respondents
                                                                                                                          Saskatchewan                Saskatchewan, Manitoba, and               to live in a rural area.
                                                                                                                                                      Quebec; computerized
                                                                                                                                                      telephone listings in Ontario;
                                                                                                                                                      voter lists in British Columbia
       Karunanayake         2012   HL                         Canada (Alberta,      Population-based       1991–1994     Men aged  19 years in      Cases: hospital records in Quebec,       Cases: 68%                           Cases: 316           Cases: NR
         et al.[31]                                            British Columbia,     case-control                         Alberta, British            cancer registries in all other          Controls: 48%                        Controls: 1506       Controls: 220 (15%)
                                                               Manitoba, Ontario,                                         Columbia, Manitoba,         provinces                               Based on postal codes,
                                                               Quebec, and                                                Ontario, Quebec, and       Controls: provincial health                respondents were not more or
                                                               Saskatchewan)                                              Saskatchewan                insurance records in Alberta,             less likely than non-respondents
                                                                                                                                                      Saskatchewan, Manitoba, and               to live in a rural area.
                                                                                                                                                      Quebec; computerized
                                                                                                                                                      telephone listings in Ontario;
                                                                                                                                                      voter lists in British Columbia
       Kaufman et al.[36]   2009   Leukemia                   Bangkok, Thailand     Hospital-based         1997–2003     Patients aged  18 years    Cases: hospital records                  Cases: 100%                          Cases: 180            None
                                                                                     case-control                          residing in Bangkok       Controls: hospital records for acute     Controls: 100%                       Controls: 756
                                                                                                                           proper and suburbs of      infection or inﬂammation (33%),
                                                                                                                           Nonthaburi,                trauma (22%), acute abdominal
                                                                                                                           Nakornpathom,              emergencies such as
                                                                                                                           Patumthani,                appendicitis (27%), or various
                                                                                                                           Samutprakarn, and          other diagnoses with elective
                                                                                                                           Samusakorn, admitted       admission, such as cataract,
                                                                                                                           to Siriraj Hospital or     hernia repair, or cosmetic
                                                                                                                           Dhonburi Hospital          surgery (17%), excluding head
                                                                                                                                                      trauma with loss of
                                                                                                                                                      consciousness or cancer; controls
                                                                                                                                                      at Dhonburi Hospital (a nearby
                                                                                                                                                      private hospital) matched to 21
                                                                                                                                                      cases admitted to private wards
                                                                                                                                                      for wealthy patients
       Lee et al.[29]       2004   NHL                        United States         Population-based       1980–1986     White men and women         Cases: Nebraska Lymphoma Study           Cases: 91% Nebraska, 89% Iowa        Cases: 872           Cases: 266 (31%)
                                                               (Nebraska, Iowa,      case-control                         aged  21 years in one      Group and area hospitals; Iowa           and Minnesota                       Controls: 2336       Controls: 779 (33%)
                                                               and Minnesota)        (pooled analysis of                  of 45 counties in           State Health Registry; special          Controls: 85%
                                                                                     2 studies)                           eastern Nebraska; white     surveillance of Minnesota                Nebraska, 78% Iowa and
                                                                                                                                                                                                                                                                               Case 3:16-md-02741-VC Document 653-8 Filed 10/28/17 Page 8 of 29




                                                                                                                          men aged  30 years in      hospital and pathology                   Minnesota
                                                                                                                          Iowa and Minnesota,         laboratory records
                                                                                                                          excluding Minneapolis,     Controls: random-digit dialing if
                                                                                                                          St. Paul, Duluth, and       aged < 65 years, Medicare ﬁles
                                                                                                                          Rochester                   if aged  65 years, state death
                                                                                                                                                      certiﬁcate ﬁles if deceased

                                                                                                                                                                                                                                                    (Continued on next page)




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      Table 1. (Continued )
       Authors                  Year   Outcomes studied             Study location         Study design           Study years          Source population            Subject identiﬁcation                Subject participation                 Subjects (n)                      Proxy respondents

                         [16]
       McDufﬁe et al.           2001   NHL                          Canada (Alberta,       Population-based       1991–1994            Men aged  19 years in       Cases: hospital records in Quebec,   Cases: 67%                            Cases: 517                        Cases: »21% (NR)
                                                                     British Columbia,      case-control                                Alberta, British             cancer registries in all other      Controls: 48%                         Controls: 1506                    Controls: 220 (15%)
                                                                     Manitoba, Ontario,                                                 Columbia, Manitoba,          provinces                           Based on postal codes,
                                                                     Quebec, and                                                        Ontario, Quebec, and        Controls: provincial health            respondents were not more or
                                                                     Saskatchewan)                                                      Saskatchewan                 insurance records in Alberta,         less likely than non-respondents
                                                                                                                                                                     Saskatchewan, Manitoba, and           to live in a rural area.
                                                                                                                                                                     Quebec; computerized
                                                                                                                                                                     telephone listings in Ontario;
                                                                                                                                                                     voter lists in British Columbia
       Nordstr€om               1998   Hairy-cell leukemia          Europe (Sweden)        Population-based       1987–1992            Men living in Sweden         Cases: national cancer registry      Cases: 91%                            Cases: 111                        Cases: 4 (4%)
        et al.[30]                                                                          case-control            (1993 for                                       Controls: national population        Controls: 83%                         Controls: 400                     Controls: 5 (1%)
                                                                                                                    one case)                                        registry
       Orsi et al.[17]          2009   LHC, NHL, DLBCL, FL, LPS,    Europe (France)        Hospital-based case-   2000–2004            Men aged 20–75 years         Cases: hospital records              Cases: 95.7%                          Cases: 491 LHC, 244 NHL, 104      None
                                        CLL, hairy-cell leukemia,                           control                                     living in the catchment     Controls: hospital records for       Controls: 91.2%                        LPS, 87 HL, 56 MM
                                        HL, MM                                                                                          areas of the main            orthopedic or rheumatological                                             Controls: 456
                                                                                                                                        hospitals in Brest, Caen,    conditions (89.3%),
                                                                                                                                        Nantes, Lille, Toulouse,     gastrointestinal or genitourinary
                                                                                                                                        and Bordeaux, with no        tract diseases (4.8%),
                                                                                                                                        history of                   cardiovascular diseases (1.1%),
                                                                                                                                        immunosuppression or         skin and subcutaneous tissue
                                                                                                                                        taking                       disease (1.8%), and infections
                                                                                                                                        immunosuppressant            (3.0%), excluding patients
                                                                                                                                        drugs                        admitted for cancer or a disease
                                                                                                                                                                     directly related to occupation,
                                                                                                                                                                     smoking, or alcohol abuse
       Pahwa et al.[34]         2012   MM                           Canada (Alberta,       Population-based       1991–1994            Men aged  19 years in       Cases: hospital records in Quebec,   Cases: 58%                            Cases: 342                        Cases: 103 (30%)
                                                                     British Columbia,      case-control                                Alberta, British             cancer registries in all other      Controls: 48%                         Controls: 1506                    Controls: 220 (15%)
                                                                     Manitoba, Ontario,                                                 Columbia, Manitoba,          provinces                           Based on postal codes,
                                                                     Quebec, and                                                        Ontario, Quebec, and        Controls: provincial health            respondents were not more or
                                                                     Saskatchewan)                                                      Saskatchewan                 insurance records in Alberta,         less likely than non-respondents
                                                                                                                                                                     Saskatchewan, Manitoba, and           to live in a rural area.
                                                                                                                                                                     Quebec; computerized
                                                                                                                                                                     telephone listings in Ontario;
                                                                                                                                                                     voter lists in British Columbia
       Sorahan[26]              2015   MM                           United States (Iowa    Prospective cohort     1993–1997            Private and commercial       Pesticide applicators identiﬁed      298 subjects (0.5%) lost to follow-   Eligible cohort (1): 54,315       None
                                                                     and North Carolina)                            through 2001         pesticide applicators in    when seeking a state-issued           up or with no person-time             excluding subjects with
                                                                                                                  Median D 6.7 years     Iowa and North Carolina     restricted-use pesticide license;     contributed                           cancer before enrollment,
                                                                                                                                         who were licensed to        invited to complete the             > 80% of eligible pesticide             loss to follow-up, missing
                                                                                                                                         apply restricted-use        enrollment questionnaire at the       applicators enrolled in study by      age at enrollment, or
                                                                                                                                         pesticides                  licensing facility                    completing on-site                    missing glyphosate use
                                                                                                                                                                                                           questionnaire                       49,211 also excluding missing
                                                                                                                                                                                                         44% of applicators completed            education, smoking, or
                                                                                                                                                                                                           take-home questionnaire               alcohol
                                                                                                                                                                                                                                               40,719 excluding missing
                                                                                                                                                                                                                                                 other pesticides
                                                                                                                                                                                                                                               Eligible cohort (2): 53,656
                                                                                                                                                                                                                                                 excluding subjects with
                                                                                                                                                                                                                                                 cancer before enrollment,
                                                                                                                                                                                                                                                 loss to follow-up, missing
                                                                                                                                                                                                                                                 age at enrollment, missing
                                                                                                                                                                                                                                                 glyphosate use, or missing
                                                                                                                                                                                                                                                 cumulative exposure days of
                                                                                                                                                                                                                                                 glyphosateuse
                                                                                                                                                                                                                                               53,304 also excluding missing
                                                                                                                                                                                                                                                 intensity of glyphosate use
                                                                                                                                                                                                                                               Eligible cohort (3): 55,934
                                                                                                                                                                                                                                                 excluding subjects with
                                                                                                                                                                                                                                                 cancer before enrollment,
                                                                                                                                                                                                                                                 loss to follow-up, or missing
                                                                                                                                                                                                                                                 age at enrollment
                                                                                                                                                                                                                                                                                                       Case 3:16-md-02741-VC Document 653-8 Filed 10/28/17 Page 9 of 29




                                                                                                                                                                                                                                                                         (Continued on next page)
      Table 1. Continued (additional columns).
       Authors                Year                    Exposure assessment                              Outcome assessment             Investigator blinding           Confounders considered or adjusted                             Funding source                                  Overlap

                      [35]
       Brown et al.          1990     In-person structured interview, including detailed        Diagnostic conﬁrmation by                      No             Adjusted: vital status, age, state, ever used tobacco    Partial support from National Institute of      Brown et al.[32]; Cantor et al.[24];
                                        farming and pesticide use history                         regional pathologists; special                               daily, ﬁrst-degree family history of LHC, non-            Environmental Health Sciences                   De Roos et al.[13]; Lee et al.[29]
                                      For each pesticide, evaluated ever use, ﬁrst and last       review of myelodysplasias by                                 farming job related to leukemia risk in this study,
                                        year of use, and personal applying/mixing/                one pathologist co-author                                    exposure to substances (benzene, naphtha, hair
                                        handling                                                                                                               dyes) related to leukemia risk in this study
                                      In 1987, supplemental telephone interview to
                                        evaluate usual number of days of pesticide use
                                        per year among Iowa subjects who had reported
                                        agricultural use of speciﬁc pesticides
       Brown et al.[32]      1993     In-person structured interview, including detailed        Diagnostic conﬁrmation by an                   No             Adjusted: vital status, age                              Partial support from National Institute of      Brown et al.[35]; Cantor et al.[24];
                                        farming and pesticide use history                         expert pathologist                                          Considered: smoking, education, other factors found        Environmental Health Sciences                   De Roos et al.[13]; Lee et al.[29]
                                      For each pesticide, evaluated ever use, ﬁrst and last                                                                    not to be confounders of agricultural risk factors
                                        year of use, personal applying/mixing/handling,
                                        and use of protective equipment
       Cantor et al.[24]     1992     In-person structured interview, including detailed        Diagnostic conﬁrmation and                     No             Adjusted: vital status, state, age, cigarette smoking    Partial support from National Institute of      Brown et al.[35]; Brown et al.[32];
                                        farming and pesticide use history of all subjects         morphological classiﬁcation by                               status, ﬁrst-degree family history of LHC, non-           Environmental Health Sciences                   De Roos et al.[13]; Lee et al.[29]
                                        who had worked on a farm for  6 months since             panel of 4 experienced regional                              farming job related to NHL risk in this study,
                                        age 18 years                                              pathologists                                                 exposure to hair dyes, exposure to other
                                      For each pesticide, evaluated ever use, ﬁrst and last                                                                    substances associated with NHL risk in this study
                                        year of use, method of application, personal                                                                          Considered: pesticides belonging to other chemical
                                        applying/mixing/handling, and use of protective                                                                        families
                                        equipment
       Cocco et al.[18]      2013     In-person structured interview, including detailed        Histologically or cytologically                No             Adjusted: age, gender, education, study center           European Commission, 5th and 6th                None
                                        farming and pesticide use history for all subjects        conﬁrmed cases with central                                                                                            Framework Programmes; Spanish
                                        who reported having worked in agriculture                 review of slides of »20% by an                                                                                         Ministry of Health; German Federal Ofﬁce
                                      For each agricultural job, reported tasks, crops, size      international team of                                                                                                  for Radiation Protection; La Fondation de
                                        of cultivated area, pests treated, pesticides used,       pathologists                                                                                                           France; Italian Ministry for Education,
                                        crop treatment procedures, use of personal                                                                                                                                       University and Research; Italian
                                        protective equipment, re-entry after treatment,                                                                                                                                  Association for Cancer Research
                                        and frequency of treatment in days per year
       De Roos et al.[13]    2003     Telephone interview in Nebraska and Kansas; in-           Nebraska: Pathology review with       Yes in Nebraska; no     Adjusted: age, study site, other individual pesticides   NR; assume National Cancer Institute            Brown et al.[35]; Brown et al.[32];
                                        person structured interview in Iowa and                   histological conﬁrmation and         in Iowa, Minnesota,     with  20 users in full study                                                                             Cantor et al.[24]; Lee et al.[29]
                                        Minnesota                                                 classiﬁcation including              and Kansas             Considered: ﬁrst-degree family history of LHC,                                                             (also Hoar et al.[47];
                                      Nebraska: Question about use of any pesticide,              immunologic phenotyping                                      education, smoking                                                                                        Hoar Zahm et al.[48])
                                        followed by prompting for speciﬁc selected              Iowa and Minnesota: Diagnostic
                                        pesticides, including years of use and average            conﬁrmation and morphological
                                        days per year                                             classiﬁcation by panel of 4
                                      Iowa and Minnesota: Direct question about a                 experienced regional
                                        selected use of speciﬁc pesticides, including ﬁrst        pathologists
                                        and last years of use                                   Kansas: Diagnostic conﬁrmation
                                      Kansas: Open-ended question about use of                    and classiﬁcation by panel of 3
                                        pesticides, followed by questions on duration of          pathologists
                                        use and days per year for groups of pesticides but
                                        not individual pesticides (with validation study)
       De Roos et al.[12]    2005     Self-administered written questionnaire (with             Linkage to state cancer registry             None             Adjusted: age at enrollment, education, cigarette        National Cancer Institute, National Institute   Sorahan[26]
                                        validation study) evaluating detailed use of 22           ﬁles, state death registries, and                            smoking pack-years, alcohol consumption in past          of Environmental Health Sciences,
                                        pesticides for private applicators, 28 pesticides for     National Death Index                                         year, ﬁrst-degree family history of cancer, state of     Environmental Protection Agency, and
                                        commercial applicators (ever/never use,                                                                                residence                                                National Institute for Occupational Safety
                                        frequency, duration, and intensity of use, decade                                                                     Considered (adjusted for MM only): 5 pesticides for       and Health
                                        of ﬁrst use), and ever/never use for additional                                                                        which cumulative exposure-days were most
                                        pesticides up to total of 50, with general                                                                             highly associated with those for glyphosate (i.e.,
                                        information on pesticide application methods,                                                                          2,4-dichlorophenoxyacetic acid, alachlor, atrazine,
                                        personal protective equipment, pesticide mixing,                                                                       metolachlor, triﬂuralin), 5 pesticides for which
                                        and equipment repair                                                                                                   ever/never use was most highly associated with
                                      Additional self-administered take-home                                                                                   that for glyphosate (i.e., benomyl, maneb,
                                        questionnaire with further questions on                                                                                paraquat, carbaryl, diazinon)
                                        occupational exposures and lifestyle factors
       Eriksson et al.[14]   2008     Self-administered mailed questionnaire with               Diagnostic pathological specimens             Yes             Adjusted: age, sex, and year of diagnosis or             Swedish Council for Working Life and Social     None
                                        additional telephone interview for missing or             examined and classiﬁed by 1 of 5                             enrollment; other associated agents (4-chloro-2-         Research; Cancer and Allergy Fund; Key
                                        unclear answers; evaluated occupational exposure          Swedish expert lymphoma                                      methyl phenoxyacetic acid, 2,4-                                €
                                                                                                                                                                                                                        Fund; Orebro University Hospital Cancer
                                                                                                                                                                                                                                                                                                              Case 3:16-md-02741-VC Document 653-8 Filed 10/28/17 Page 10 of 29




                                        to individual pesticides, including number of             reference pathologists, if not                               dichlorophenoxyacetic acid and/or 2,4,5-                 Fund
                                        years, number of days per year, and approximate           already initially reviewed by one                            trichlorophenoxyacetic acid, mercurial seed
                                        length of exposure per day                                of them; panel review if                                     dressing, arsenic, creosote, tar) for NHL only
                                                                                                  classiﬁcation differed from
                                                                                                  original report

                                                                                                                                                                                                                                                                       (Continued on next page)




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      Table 1. (Continued )
       Authors                        Year                   Exposure assessment                              Outcome assessment              Investigator blinding           Confounders considered or adjusted                           Funding source                               Overlap

                              [27]
       Hardell and Eriksson          1999    Self-administered mailed questionnaire with               Histopathological diagnosis of NHL             Yes             Adjusted: age, county, vital status, year of death if   Swedish Work Environment Fund, Swedish       Hardell et al.[15]
                                               supplemental telephone interview for unclear              reported to regional cancer                                   deceased, use of phenoxyacetic acids                                              €
                                                                                                                                                                                                                               Medical Research Council, Orebro County
                                               answers; assessed use of pesticides within                registries, conﬁrmed by review                                                                                                                     €
                                                                                                                                                                                                                               Council Research Committee, Orebro
                                               different occupations, wet contact if not handling        of pathology reports                                                                                                  Medical Center Research Foundation
                                               the sprayer, brand names of pesticides, years of
                                               exposure, and cumulative days of exposure
                                             Exposure excluded 1 year prior to diagnosis or index
                                               year
       Hardell et al.[15]            2002    Self-administered mailed questionnaire with               Histologically veriﬁed NHL;                    Yes             Adjusted: study, study area, vital status, other        Swedish Cancer Research Fund, Swedish        Hardell and Eriksson[27]
                                               supplemental telephone interview for unclear              conﬁrmation of hairy-cell                                     associated pesticides (4-chloro-2-methyl                                          €
                                                                                                                                                                                                                               Medical Research Council, Orebro County      Nordstr€om et al.[30]
                                               answers; assessed years and total number of days          leukemia NR                                                   phenoxyacetic acid, 2,4-dichlorophenoxyacetic                                        €
                                                                                                                                                                                                                               Council Research Committee, Orebro
                                               of occupational exposure to various agents and                                                                          acid C 2,4,5-trichlorophenoxyacetic acid, other         Medical Centre Research Foundation
                                               names of agents                                                                                                         herbicides)
                                             Exposure deﬁned as  1 working day with induction
                                               period of  1 year
       Hohenadel et al.[28]          2011    Telephone interview for detailed information on           Diagnostic conﬁrmation based on                 No             Adjusted: age, province, use of a proxy respondent      Health Canada, British Columbia Health       Kachuri et al.[33];
                                               pesticide use in subjects who reported in a self-         information, including pathology                             Considered: diesel exhaust, ultraviolet radiation,       Research Foundation, Centre for               Karunanayake et al.[31];
                                               administered mail questionnaire that they                 reports, from cancer registries                               farm animals, chemicals such as benzene, ﬁrst-          Agricultural Medicine at University of        McDufﬁe et al.[16];
                                               had  10 hours of pesticide use during their              and hospitals; pathological                                   degree family history of cancer                         Saskatchewan                                  Pahwa et al.[34]
                                               lifetime, plus 15% random sample of subjects              material reviewed and classiﬁed
                                               with < 10 hours                                           by a reference pathologist;
                                             Pesticide interview (with validation study) included        subjects with unavailable
                                               a pre-mailed list of speciﬁc pesticides (chemical         pathological material retained in
                                               and trade names) with number of days used and             study
                                               number of hours per day at home or work for
                                               each pesticide
       Kachuri et al.[33]            2013    Telephone interview for detailed information on           Diagnostic conﬁrmation based on                 No             Adjusted: age, province, use of a proxy respondent,     Occupational Cancer Research Centre;         Hohenadel et al.[28];
                                               pesticide use in subjects who reported in a self-         information, including pathology                              smoking status, personal history of rheumatoid          Cancer Care Ontario; Ontario Workplace       Karunanayake et al.[31];
                                               administered mail questionnaire that they                 reports, from cancer registries                               arthritis, allergies, measles, shingles, or cancer,     Safety and Insurance Board; Canadian         McDufﬁe et al.[16];
                                               had  10 hours of pesticide use during their              and hospitals; pathological                                   family history of cancer                                Cancer Society, Ontario Division, Mitacs-    Pahwa et al.[34]
                                               lifetime, plus 15% random sample of subjects with         material reviewed and classiﬁed                                                                                       Accelerate Graduate Research Internship
                                               < 10 hours                                                by a reference pathologist                                                                                            Program
                                             Pesticide interview (with validation study) included        (including pathology and tumor
                                               a pre-mailed list of speciﬁc pesticides (chemical         tissue slides for 125 [37%] of 342
                                               and trade names) with number of days used and             cases); subjects with unavailable
                                               number of hours per day at home or work for               pathological material retained in
                                               each pesticide                                            study
       Karunanayake et al.[31]       2012    Telephone interview for detailed information on           Initial diagnosis based on                      No             Adjusted: age, province, personal history of measles,   NR; assume same as in related studies        Hohenadel et al.[28];
                                               pesticide use in subjects who reported in a self-         information from cancer                                       acne, hay fever, or shingles, ﬁrst-degree family                                                     Kachuri et al.[33];
                                               administered mail questionnaire that they                 registries and hospitals;                                     history of cancer                                                                                    McDufﬁe et al.[16];
                                               had  10 hours/year of cumulative exposure to             pathology and tumor tissue                                                                                                                                         Pahwa et al.[34]
                                               any combination of herbicides, insecticides,              slides for 155 of 316 cases
                                               fungicides, fumigants, and algicides                      reviewed by a reference
                                             Pesticide interview collected information on                pathologist who conﬁrmed HL in
                                               exposure to individual pesticides, place of               150/155 cases, plus 7 cases
                                               pesticide use, year of ﬁrst use, ﬁrst year on market,     originally classiﬁed as NHL;
                                               number of years of use, and days per year of use          subjects with unavailable
                                             [Note differences from related studies]                     pathological material retained in
                                                                                                         study
       Kaufman et al.[36]            2009    Interview with nurse to assess occupational and           Histologically conﬁrmed leukemia                No             Considered: age, sex, income, use of cellular           Thailand Research Fund and Commission        None
                                               non-occupational exposure to pesticides and               diagnosed within 6 months                                     telephones, benzene and other solvent exposure,          on Higher Education
                                               other potential risk factors                              before current hospital                                       occupational and non-occupational pesticide
                                                                                                         attendance or admission                                       exposure, pesticides used near home, working
                                                                                                                                                                       with power lines, living near power lines,
                                                                                                                                                                       exposure to X-rays, exposure to certain types of
                                                                                                                                                                       electromagnetic ﬁelds, use of hair dyes
       Lee et al.[29]                2004    Telephone interview in Nebraska; in-person                Nebraska: Pathology review with        Yes in Nebraska; no     Adjusted: age, state, vital status                      NR; assume National Cancer Institute         Brown et al.[35];
                                               structured interview in Iowa and Minnesota                histological conﬁrmation and          in Iowa and            Considered: gender, smoking, ﬁrst-degree family                                                        Brown et al.[32];
                                             Questions included personal handling of groups of           classiﬁcation including               Minnesota               history of LHC, ever having a job correlated with                                                     Cantor et al.[24];
                                               pesticides and individual pesticides used on crops        immunologic phenotyping                                       risk of LHC (e.g., painting or welding), use of                                                       De Roos et al.[13]
                                                                                                                                                                                                                                                                                                           Case 3:16-md-02741-VC Document 653-8 Filed 10/28/17 Page 11 of 29




                                               or animals, with years of ﬁrst and last use             Iowa and Minnesota: Diagnostic                                  protective equipment                                                                                  (also Hoar Zahm et al.[48])
                                                                                                         conﬁrmation and morphological
                                                                                                         classiﬁcation by panel of 4
                                                                                                         experienced regional
                                                                                                         pathologists
      Table 1. (Continued )
       Authors                  Year                  Exposure assessment                             Outcome assessment              Investigator blinding           Confounders considered or adjusted                            Funding source                            Overlap

       McDufﬁe et al.[16]      2001    Telephone interview for detailed information on         Diagnostic conﬁrmation from                     No             Adjusted: age, province, personal history of measles,    Health Canada, British Columbia Health    Hohenadel et al.[28];
                                         pesticide use in subjects who reported in a self-       cancer registries and hospitals;                              mumps, cancer, or allergy desensitization shots,         Research Foundation, Centre for           Kachuri et al.[33];
                                         administered mail questionnaire that they had          pathological material reviewed                                ﬁrst-degree family history of cancer                     Agricultural Medicine at University of    Karunanayake et al.[31];
                                         10 hours of pesticide use during their lifetime,        and classiﬁed by a reference                                 Considered: pesticide exposure, smoking history           Saskatchewan                              Pahwa et al.[34]
                                         plus 15% random sample of subjects with <               pathologist; subjects with
                                         10 hours (total D 179 cases, 456 controls with          unavailable pathological
                                         telephone interview)                                    material retained in study
                                       Pesticide interview (with validation study) included
                                         a pre-mailed list of speciﬁc pesticides (chemical
                                         and trade names) with number of days used and
                                         number of hours per day at home or work for
                                         each pesticide
       Nordstr€om et al.[30]   1998    Self-administered mailed questionnaire with             Reported to national cancer                    Yes             Adjusted: age                                                                            €
                                                                                                                                                                                                                       Swedish Work Environment Fund, Orebro     Hardell et al.[15]
                                         supplemental telephone interview for unclear or        registry; further conﬁrmation not                             Considered: exposure to animals, herbicides,              County Council Research Committee,
                                         missing answers; assessed total number of days of      described                                                      insecticides, fungicides, impregnating agents,           €
                                                                                                                                                                                                                        Orebro Medical Centre Research
                                         occupational exposure to various agents                                                                               organic solvents, exhausts, or ultraviolet light         Foundation.
                                       Exposure deﬁned as  1 working day with
                                         induction period of  1 year
       Orsi et al.[17]         2009    Self-administered written questionnaire with            All diagnoses cytologically or                 Yes             Adjusted: age, study center, socioeconomic category      Association pour la Recherche contre le   None
                                         lifetime occupational history, followed by in-          histologically conﬁrmed and                                  Considered: all combinations of pesticide families        Cancer, Fondation de France, AFSSET,
                                         person structured interview evaluating non-             reviewed by a panel of                                        associated with the LHC subtype considered with          Faberge employees (donation)
                                         occupational exposure to pesticides and                 pathologists and hematologists                                a p-value  0.10, rural/urban status, type of
                                         agricultural questionnaire for subjects who had                                                                       housing, educational level, history of
                                         worked as a farmer or gardener for  6 months                                                                         mononucleosis, history of inﬂuenza immunization,
                                         during lifetime                                                                                                       family history of cancer, skin characteristics,
                                       Agricultural questionnaire collected data on location                                                                   smoking status, and alcohol drinking status
                                         of all farms where subject had worked for  6
                                         months, period of occupation and area, farmer’s
                                         status at each farm, crops and animal husbandry
                                         with mean sizes, all pesticides used on each crop
                                         during a given period, whether subject had
                                         personally prepared, mixed, or sprayed the
                                         pesticide, chemical used, brand name, main use,
                                         type of spraying equipment used, annual number
                                         and duration of applications, and use of pesticides
                                         in farm buildings for animals, grain, hay or straw,
                                         or to clear lanes and yards
                                       All questionnaires reviewed by an occupational
                                         hygienist and an agronomist; repeat telephone
                                         interviews conducted to clarify information from
                                         95 (56.8%) of 158 subjects who completed the
                                         agricultural questionnaire, not completed by 35
                                         (20.8%) who refused (n D 15), died/were in poor
                                         health (n D 10), or could not be contacted (n D
                                         15); all chemicals coded using ad hoc system and
                                         classiﬁed as deﬁnite or possible exposure
       Pahwa et al.[34]        2012    Telephone interview for detailed information on         Diagnostic conﬁrmation based on                 No             Adjusted: age, province, personal history of measles,    Occupational Cancer Research Centre;      Hohenadel et al.[28];
                                         pesticide use in subjects who reported in a self-       information, including pathology                              mumps, allergies, arthritis, or shingles, ﬁrst-degree    Cancer Care Ontario; Ontario Workplace    Kachuri et al.[33];
                                         administered mail questionnaire that they had          reports, from cancer registries                               family history of cancer                                 Safety and Insurance Board; Canadian      Karunanayake et al.[31];
                                         10 h of pesticide use during their lifetime, plus       and hospitals; pathological                                                                                            Cancer Society                            McDufﬁe et al.[16]
                                         15% random sample of subjects with < 10 h               material reviewed and classiﬁed
                                       Pesticide interview (with validation study) included      by a reference pathologist
                                         a pre-mailed list of speciﬁc pesticides (chemical       (including pathology and tumor
                                         and trade names) with number of days used and           tissue slides for 125 [37%] of 342
                                         number of hours per day at home or work for             cases); subjects with unavailable
                                                                                                                                                                                                                                                                                             Case 3:16-md-02741-VC Document 653-8 Filed 10/28/17 Page 12 of 29




                                         each pesticide                                          pathological material retained in
                                                                                                 study

                                                                                                                                                                                                                                                                 (Continued on next page)




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      Table 1. (Continued )
       Authors                 Year                   Exposure assessment                              Outcome assessment             Investigator blinding           Confounders considered or adjusted                            Funding source               Overlap

                 [26]
       Sorahan                2015    Self-administered written questionnaire (with             Linkage to state cancer registry             None             Fully adjusted: age, gender, smoking pack-years,          Monsanto Europe SA/NV        De Roos et al.[12]
                                        validation study) evaluating detailed use of 22           ﬁles, state death registries, and                             alcohol use in year before enrollment, ﬁrst-degree
                                        pesticides for private applicators, 28 pesticides for     National Death Index                                          family history of cancer, education, use of 2,4-
                                        commercial applicators (ever/never use,                                                                                 dichlorophenoxyacetic acid, alachlor, atrazine,
                                        frequency, duration, and intensity of use, decade                                                                       metolachlor, or triﬂuralin, ever use of benomyl,
                                        of ﬁrst use), and ever/never use for additional                                                                         maneb, paraquat, carbaryl, or diazinon
                                        pesticides up to total of 50, with general                                                                            Intermediate adjusted: age, gender, smoking,
                                        information on pesticide application methods,                                                                           alcohol, family history of cancer, education
                                        personal protective equipment, pesticide mixing,                                                                      Adjusted in full cohort: age, gender, family history of
                                        and equipment repair                                                                                                    cancer, education
                                      Additional self-administered take-home
                                        questionnaire with further questions on
                                        occupational exposures and lifestyle factors
                                      Missing data classiﬁed into “not known/missing”
                                        category, with unknown use of 2,4-
                                        dichlorophenoxyacetic acid classiﬁed with no use
                                        and unknown education classiﬁed with no
                                        education beyond high school due to lack of MM
                                        cases in unknown categories

      CI: conﬁdence interval; CLL: chronic lymphocytic leukemia; DLBCL: diffuse large B-cell lymphoma; FL: follicular lymphoma; HL: Hodgkin lymphoma; LHC: lymphohematopoietic cancer; LPS: lymphoproliferative syndrome; MM: multiple
        myeloma; NHL: non-Hodgkin lymphoma; NR: not reported; OR: odds ratio; SLL: small lymphocytic lymphoma.
                                                                                                                                                                                                                                                                           Case 3:16-md-02741-VC Document 653-8 Filed 10/28/17 Page 13 of 29
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and source population as Brown et al.,[32] which was described in    pesticide exposures interact in relation to the risk of NHL.”)
the section on MM, and Cantor et al.,[24] which was included as      Using the logistic regression RR did not appreciably affect the
part of De Roos et al.[13] in a pooled analysis of NHL.              results of the meta-analysis (meta-RR D 1.3, 95% CI D 1.0–1.6;
   As described earlier, De Roos et al.,[12] the only prospective    identical for random-effects and ﬁxed-effects models).
cohort study included, was based in North America (Iowa and             In another secondary analysis, we replaced the RR reported
North Carolina), enrolled both males and females, ascertained        by McDufﬁe et al.[16] with the results reported by Hohenadel
cancer incidence in the 1990s and 2000s, and had a 99.5% fol-        et al.[28] in the same study population (minus four previously
low-up rate through 2001. In the total eligible cohort, 43 leuke-    misclassiﬁed NHL cases) (Table 3). Because Hohenadel et al.[28]
mia cases occurred among glyphosate users. Brown et al.[35]          reported two estimates for glyphosate use—one in the absence
was a population-based case-control study set in North Amer-         of malathion use and one in the presence of malathion use—we
ica (Iowa and Minnesota), restricted to white males, with cases      combined these two estimates into a single estimate (RR D
identiﬁed in 1980–1983, participation rates of 86% for cases         1.40, 95% CI D 0.62–3.15) using random-effects meta-analysis.
and 77–79% for controls, and proxy respondent rates of 41%           Using this alternative estimate also did not appreciably affect
for cases and 34% for controls. Fifteen leukemia cases in this       the meta-RR (1.3, 95% CI D 1.0–1.7; identical for random-
study were classiﬁed as having used glyphosate. The other case-      effects and ﬁxed-effects models). Finally, using both the logistic
control study of leukemia, by Kaufman et al.,[36] was a hospital-    regression RR instead of the hierarchical regression RR from
based study set in Asia (Thailand), with males and females,          De Roos et al.[13] and the combined RR from Hohenadel
case ascertainment in the 1990s and 2000s, participation rates       et al.[28] instead of the RR from McDufﬁe et al.[16] slightly but
of 100%, and no proxy respondents for cases or controls.             non-signiﬁcantly increased the meta-RR to 1.4 (95% CI D 1.0–
                                                                     1.8; identical for random-effects and ﬁxed-effects models)
                                                                     (Table 3).
Meta-analysis
                                                                        As noted earlier, in their meta-analysis of the association
NHL                                                                  between glyphosate use and NHL risk, Schinasi and
All relevant RRs and 95% CIs for the association between             Leon[11] included RR estimates from Eriksson et al.[14] and
reported glyphosate use and risk of overall NHL, including           Hardell et al.[15] that were not the most highly adjusted esti-
those not used in the meta-analysis, such as estimates               mates reported by the authors (shown in Table 2 as univari-
within subgroups, minimally adjusted estimates, and esti-            ate odds ratios). They also used the logistic regression
mates of exposure-response patterns, are provided in                 estimate from De Roos et al.[13] that arguably was not as
Table 2. The estimates selected from each independent                highly adjusted as the hierarchical regression estimate.
study population for inclusion in the meta-analysis, accord-         When we included these estimates in the meta-analysis,
ing to the rules speciﬁed in the methods section, are pro-           along with the same estimates from De Roos et al.,[13]
vided in Table 3.                                                    McDufﬁe et al.,[16] and Orsi et al.[17] as included in our
    As shown in Table 3 and Fig. 1, the combined meta-RR             main meta-analysis, we obtained the same results as
for overall NHL in association with any use of glyphosate,           reported by Schinasi and Leon:[11] random-effects meta-RR
based on six studies,[12–17] was 1.3 (95% CI D 1.0–1.6).             D 1.5, 95% CI D 1.1–2.0 (I2 D 32.7%, pheterogeneity D 0.19).
The results were identical in the random-effects and ﬁxed-           The ﬁxed-effects meta-RR based on these estimates (not
effects models, suggesting limited between-study heteroge-           reported by Schinasi and Leon[11]) was 1.4 (95% CI D 1.1–
neity in the association. Little heterogeneity also was indi-        1.8).
cated by the I2 value of 0.0% and the highly non-
signiﬁcant P-value of 0.84 for Cochran’s Q. Given the lack           NHL subtypes
of heterogeneity and at least one statistically signiﬁcant           All reported RRs and 95% CIs for the association between
association, we tested for publication bias using Egger’s            glyphosate use and risk of various NHL subtypes are shown in
linear regression approach to evaluating funnel plot asym-           Table 2. The estimates included in meta-analyses, which were
metry, and found no signiﬁcant asymmetry (one-tailed P-              conducted for B-cell lymphoma, diffuse large B-cell lymphoma,
value D 0.20). Using Duval and Tweedie’s trim-and-ﬁll                chronic lymphocytic leukemia/small lymphocytic lymphoma,
approach to adjust for publication bias, the imputed meta-           follicular lymphoma, and hairy-cell leukemia (i.e., all NHL sub-
RR for both the random-effects and ﬁxed-effects models               types for which at least two estimates from independent studies
was 1.2 (95% CI D 1.0–1.6).                                          were available), are shown in Table 3. Too few studies of any
    In secondary analyses, we replaced the RR estimated by De        given NHL subtype were conducted to justify testing for publi-
Roos et al.[13] using a hierarchical (i.e., multistage) regression   cation bias.
model with the RR estimated using a more traditional logistic            The meta-RR for the association between any use of
regression model (Table 3). (The hierarchical regression RR was      glyphosate and risk of B-cell lymphoma, based on two stud-
selected for the primary analysis because, as stated by the          ies,[14,18] was 2.0 (95% CI D 1.1–3.6) according to both the
authors, hierarchical regression models can yield “increased pre-    random-effects and the ﬁxed-effects model (I2 D 0.0%, phe-
cision and accuracy for the ensemble of estimates” when model-       terogeneity D 0.58) (Table 3). These results are the same as
ing multiple pesticides simultaneously, and the more                 reported by Schinasi and Leon.[11] The four B-cell lym-
conservative prior assumptions speciﬁed in these models              phoma cases who were classiﬁed by Cocco et al.[18] as hav-
“seemed appropriate in a largely exploratory analysis of multiple    ing used glyphosate consisted of one patient with diffuse
exposures for which there is little prior knowledge about how        large B-cell lymphoma, one with chronic lymphocytic
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      Table 2. Estimated associations between glyphosate exposure and risk of lymphohematopoietic cancer (LHC), including non-Hodgkin lymphoma (NHL), NHL subtypes, Hodgkin lymphoma (HL), multiple myeloma (MM), and
      leukemia.
       Authors                    Year               Exposure groups and number of subjects                                                               Relative risk                                              95% CI

       Brown et al.[35]           1990   Non-farmers: 243 cases, 547 controls                                Leukemia OR D 0.9                                                 Leukemia 95% CI D 0.5–1.6
                                         Ever mixed, handled, or applied glyphosate: 15 cases, 49 controls
                      [32]
       Brown et al.               1993   Non-farmers: 62 cases, 272 controls                                 MM OR D 1.7                                                       MM 95% CI D 0.8–3.6
                                         Ever mixed, handled, or applied glyphosate: 11 cases, 40 controls   Among those who did not use protective equipment, MM OR D 1.9     Among those who did not use protective equipment, MM 95% CI D NR
       Cantor et al.[24]          1992   Non-farmers: 226 cases, 547 controls                                NHL OR D 1.1                                                      NHL 95% CI D 0.7–1.9
                                         Ever handled, mixed, or applied glyphosate: 26 cases, 49 controls
       Cocco et al.[18]           2013   Unexposed to any pesticides: NR cases, 2262 controls                B-cell NHL OR D 3.1                                               B-cell NHL 95% CI D 0.6–17.1
                                         Occupationally exposed to glyphosate: 4 cases (1 DLBCL, 1 CLL,
                                           1 MM, 1 unspeciﬁed B-cell NHL), 2 controls
       De Roos et al.[13]         2003   Unexposed to glyphosate: 614 cases, 1892 controls                   Hierarchical regression NHL OR D 1.6                              Hierarchical regression NHL 95% CI D 0.9–2.8
                                         Exposed to glyphosate: 36 cases, 61 controls                        Logistic regression NHL OR D 2.1                                  Logistic regression NHL 95% CI D 1.1–4.0
       De Roos et al.[12]         2005   Never used glyphosate: 47 LHC, 21 NHL, 8 MM, 14 leukemia;           Fully adjusted LHC RR D 1.1                                       Fully adjusted LHC 95% CI D 0.8–1.6
                                           13,280 cohort members                                             Age-adjusted LHC RR D 1.1                                         Age-adjusted LHC 95% CI D 0.8–1.5
                                         Ever used glyphosate: 143 LHC, 71 NHL, 24 MM, 43 leukemia;          Fully adjusted NHL RR D 1.1                                       Fully adjusted NHL 95% CI D 0.7–1.9
                                           41,035 cohort members                                             Age-adjusted NHL RR D 1.2                                         Age-adjusted NHL 95% CI D 0.7–1.9
                                                                                                             Fully adjusted MM RR D 2.6 (2.6 in Iowa, 2.7 in North Carolina)   Fully adjusted MM 95% CI D 0.7–9.4
                                                                                                             Age-adjusted MM RR D 1.1                                          Age-adjusted MM 95% CI D 0.5–2.4
                                                                                                             Fully adjusted leukemia RR D 1.0                                  Fully adjusted leukemia 95% CI D 0.5–1.9
                                                                                                             Age-adjusted leukemia RR D 1.1                                    Age-adjusted leukemia 95% CI D 0.6–2.0
                                         1–20 glyphosate exposure days: 48 LHC, 29 NHL, 8 MM, 9              Cumulative exposure days, tertiles 2 and 3 vs. 1                  Cumulative exposure days, tertiles 2 and 3 vs. 1
                                           leukemia                                                          LHC RRs D 1.2, 1.2; p-trend D 0.69                                LHC 95% CIs D 0.8–1.8, 0.8–1.8
                                         21–56 glyphosate exposure days: 38 LHC, 15 NHL, 5 MM, 14            NHL RRs D 0.7, 0.9; p-trend D 0.73                                NHL 95% CIs D 0.4–1.4, 0.5–1.6
                                           leukemia                                                          MM RRs D 1.1, 1.9; p-trend D 0.27                                 MM 95% CIs D 0.4–3.5, 0.6–6.3
                                         57–2,678 glyphosate exposure days: 36 LHC, 17 NHL, 6 MM, 9          Leukemia RRs D 1.9, 1.0; p-trend D 0.61                           Leukemia 95% CIs D 0.8–4.5, 0.4–2.9
                                           leukemia                                                          > 108 vs. > 0–9 exposure days, NHL RR D 0.9                       > 108 vs. > 0–9 exposure days, NHL 95% CI D 0.4–2.1
                                         0.1–79.5 intensity-weighted glyphosate exposure days: 38 LHC,       Intensity-weighted exposure days, tertiles 2 and 3 vs. 1          Intensity-weighted exposure days, tertiles 2 and 3 vs. 1
                                           24 NHL, 5 MM, 7 leukemia                                          LHC RRs D 1.0, 1.0; p-trend D 0.90                                LHC 95% CIs D 0.6–1.5, 0.7–1.6
                                         79.6–337.1 intensity-weighted glyphosate exposure days: 40 LHC,     NHL RRs D 0.6, 0.8; p-trend D 0.99                                NHL 95% CIs D 0.3–1.1, 0.5–1.4
                                           15 NHL, 6 MM, 17 leukemia                                         MM RRs D 1.2, 2.1; p-trend D 0.17                                 MM 95% CIs D 0.4–3.8, 0.6–7.0
                                         337.2–18,241 intensity-weighted glyphosate exposure days: 43        Leukemia RRs D 1.9, 0.7; p-trend D 0.11                           Leukemia 95% CIs D 0.8–4.7, 0.2–2.1
                                           LHC, 22 NHL, 8 MM, 8 leukemia                                     Intensity tertile 3 vs. 1                                         Intensity tertile 3 vs. 1
                                                                                                             MM RR D 0.6                                                       MM 95% CI D 0.2–1.8
                                                                                                             Cumulative exposure days, tertiles 1, 2, and 3 vs. never          Cumulative exposure days, tertiles 1, 2, and 3 vs. never
                                                                                                             MM RRs D 2.3, 2.6, 4.4; p-trend D 0.09                            MM 95% CIs D 0.6–8.9, 0.6–11.5, 1.0–20.2
                                                                                                             Cumulative exposure days, quartile 4 vs. never                    Cumulative exposure days, quartile 4 vs. never
                                                                                                             MM RR D 6.6; p-trend D 0.01                                       MM 95% CI D 1.4–30.6
       Eriksson et al.[14]        2008   No pesticide exposure: NR                                           NHL OR, any glyphosate, multivariate D 1.51                       NHL 95% CI, any glyphosate, multivariate D 0.77–2.94
                                         Glyphosate exposure for  1 full working day,  1 calendar year     NHL OR, any glyphosate, univariate D 2.02                         NHL 95% CI, any glyphosate, univariate D 1.10–3.71
                                           prior to year of diagnosis or enrollment: 29 NHL cases, 18        NHL OR, glyphosate 1 to  10 days D 1.69                          NHL 95% CI, glyphosate 1 to  10 days D 0.70–4.07
                                           controls (NHL subtypes NR)                                        NHL OR, glyphosate > 10 days D 2.36                               NHL 95% CI, glyphosate > 10 days D 1.04–5.37
                                         Glyphosate exposure for 1 to  10 days: 12                          NHL OR, any glyphosate, latency 1–10 years D 1.11                 NHL 95% CI, any glyphosate, latency 1–10 years D 0.24–5.08
                                         NHL cases, 9 controls                                               NHL OR, any glyphosate, latency > 10 years D 2.26                 NHL 95% CI, any glyphosate, latency > 10 years D 1.16–4.40
                                         Glyphosate exposure for > 10 days: 17 NHL cases, 9 controls
                                                                                                             B-cell NHL OR, any glyphosate D 1.87                              B-cell NHL 95% CI, any glyphosate D 0.998–3.51
                                                                                                             SLL/CLL OR, any glyphosate D 3.35                                 SLL/CLL 95% CI, any glyphosate D 1.42–7.89
                                                                                                             FL grades I–III OR, any glyphosate D 1.89                         FL grades I–III 95% CI, any glyphosate D 0.62–5.79
                                                                                                             DLBCL OR, any glyphosate D 1.22                                   DLBCL 95% CI, any glyphosate D 0.44–3.35
                                                                                                             Other speciﬁed B-cell NHL OR, any glyphosate D 1.63               Other speciﬁed B-cell NHL 95% CI, any glyphosate D 0.53–4.96
                                                                                                             Unspeciﬁed B-cell NHL OR, any glyphosate D 1.47                   Unspeciﬁed B-cell NHL 95% CI, any glyphosate D 0.33–6.61
                                                                                                             T-cell NHL OR, any glyphosate D 2.29                              T-cell NHL 95% CI, any glyphosate D 0.51–10.4
                                                                                                             Unspeciﬁed NHL OR, any glyphosate D 5.63                          Unspeciﬁed NHL 95% CI, any glyphosate D 1.44–22.0
       Hardell and Eriksson[27]   1999   No pesticide exposure                                               NHL OR adjusted for phenoxyacetic acids D 5.8                     NHL 95% CI adjusted for phenoxyacetic acids D 0.6–54
                                         Glyphosate exposure  1 year prior to diagnosis or control index    NHL OR unadjusted for phenoxyacetic acids D 2.3                   NHL 95% CI unadjusted for phenoxyacetic acids D 0.4–13
                                           year: 4 cases, 3 controls
       Hardell et al.[15]         2002   No pesticide exposure: NR                                           Multivariate NHL OR D 1.85                                        Multivariate NHL 95% CI D 0.55–6.20
                                         Glyphosate exposure for  1 working day,  1 year prior to          Univariate NHL OR D 3.04                                          Univariate NHL 95% CI D 1.08–8.52
                                           diagnosis or control index date: 8 cases, 8 controls
       Hohenadel et al.[28]       2011   Use of neither glyphosate nor malathion: 422 cases, 1301 controls   NHL OR, glyphosate only D 0.92                                    NHL 95% CI, glyphosate only D 0.54–1.55
                                         Use of glyphosate only: 19 cases, 78 controls                       NHL OR, malathion only D 1.95                                     NHL 95% CI, malathion only D 1.29 –2.93
                                                                                                                                                                                                                                                  Case 3:16-md-02741-VC Document 653-8 Filed 10/28/17 Page 15 of 29




                                         Use of malathion only: 41 cases, 72 controls                        NHL OR, glyphosate and malathion D 2.10                           NHL 95% CI, glyphosate and malathion D 1.31–3.37
                                         Use of glyphosate and malathion: 31 cases, 55 controls              Interaction contrast ratio D 0.23, P-interaction D 0.69
      Table 2. (Continued )
       Authors                   Year               Exposure groups and number of subjects                                                            Relative risk                                                                                   95% CI

                         [33]
       Kachuri et al.            2013   Never used glyphosate: 310 cases, 1236 controls (216 cases, 1047   MM OR, ever glyphosate D 1.19                                                                       MM 95% CI, ever glyphosate D 0.76–1.87
                                          controls without proxy)                                          MM OR, ever glyphosate, no proxies D 1.11                                                           MM 95% CI, ever glyphosate, no proxies D 0.66–1.86
                                        Ever used glyphosate: 32 cases, 121 controls (23 cases, 108        MM OR, glyphosate > 0 to  2 days per year D 0.72                                                   MM 95% CI, glyphosate > 0 to  2 days per year D 0.39–1.32
                                          controls without proxy)                                          MM OR, glyphosate > 0 to  2 days per year, no proxies D 0.70                                       MM 95% CI, glyphosate > 0 to  2 days per year, no proxies D 0.35–1.40
                                        Used glyphosate for > 0 to  2 days per year: 15 cases, 88         MM OR, glyphosate > 2 days per year D 2.04                                                          MM 95% CI, glyphosate > 2 days per year D 0.98–4.23
                                          controls (11 cases, 78 controls without proxy)                   MM OR, glyphosate > 2 days per year, no proxies D 2.11                                              MM 95% CI, glyphosate > 2 days per year, no proxies D 0.95–4.70
                                        Used glyphosate for > 2 days per year: 12 cases, 29 controls (10
                                          cases, 26 controls without proxy)
       Karunanayake et al.[31]   2012   Never used glyphosate: 278 cases, 1373 controls                    Fully adjusted HL OR D 0.99                                                                         Fully adjusted HL 95% CI D 0.62–1.56
                                        Ever used glyphosate: 38 cases, 133 controls                       Minimally adjusted (age, province) HL OR D 1.14                                                     Minimally adjusted (age, province) HL 95% CI D 0.74–1.76
       Kaufman et al.[36]        2009   No glyphosate use: 179 cases, 753 controls                         Crude leukemia OR D 1.40                                                                            Crude leukemia 95% CI D 0.15–13.56
                                        Glyphosate: 1 case, 3 controls
       Lee et al.[29]            2004   Non-farmers, non-asthmatics: 259 cases, 684 controls               NHL OR, non-farmers, asthmatics D 0.6                                                               NHL 95% CI, non-farmers, asthmatics D 0.3–1.4
                                        Non-farmers, asthmatics: 9 cases, 37 controls                      NHL OR, glyphosate, non-asthmatics D 1.4                                                            NHL 95% CI, glyphosate, non-asthmatics D 0.98–2.1
                                        Exposed to glyphosate, non-asthmatics: 53 cases, 91 controls       NHL OR, glyphosate, asthmatics D 1.2                                                                NHL 95% CI, glyphosate, asthmatics D 0.4–3.3
                                        Exposed to glyphosate, asthmatics: 6 cases, 12 controls
       McDufﬁe et al.[16]        2001   Never used glyphosate: 466 cases, 1373 controls                    Fully adjusted NHL OR, ever glyphosate D 1.20                                                       Fully adjusted NHL 95% CI, ever glyphosate D 0.83–1.74
                                        Ever used glyphosate: 51 cases, 1506 controls                      Minimally adjusted (age, province) NHL OR, ever glyphosate D 1.26                                   Minimally adjusted (age, province) NHL 95% CI, ever glyphosate D 0.87–1.80
                                        Glyphosate use for > 0 to  2 days per year                        Minimally adjusted NHL OR, glyphosate > 0 to  2 days per year D 1.00                               Minimally adjusted NHL 95% CI, glyphosate > 0 to  2 days per year D 0.63–1.57
                                        Glyphosate use for > 2 days per year                               Minimally adjusted NHL OR, glyphosate > 2 days per year D 2.12                                      Minimally adjusted NHL 95% CI, glyphosate > 2 days per year D 1.20–3.73
       Nordstr€om et al.[30]     1998   No glyphosate exposure: 107 cases, 395 controls                    Hairy-cell leukemia OR D 3.1                                                                        Hairy-cell leukemia 95% CI D 0.8–12
                                        Glyphosate exposure for  1 working day,  1 year prior to
                                          diagnosis or control index date: 4 cases, 5 controls
       Orsi et al.[17]           2009   Never exposed to glyphosate: 464 LHC, 232 NHL, 102 DLBCL, 47       LHC OR D 1.2                                                                                        LHC 95% CI D 0.6–2.1
                                          FL, 100 LPS, 75 CLL, 25 hairy-cell leukemia 81 HL, 51 MM, 432    NHL OR D 1.0                                                                                        NHL 95% CI D 0.5–2.2
                                          controls                                                         DLBCL OR D 1.0                                                                                      DLBCL 95% CI D 0.3–2.7
                                        Ever exposed to glyphosate: 27 LHC, 12 NHL, 5 DLBCL, 3 FL, 4       FL OR D 1.4                                                                                         FL 95% CI D 0.4–5.2
                                          LPS, 2 CLL, 2 hairy-cell leukemia, 6 HL, 5 MM, 24 controls       LPS OR D 0.6                                                                                        LPS 95% CI D 0.2–2.1
                                                                                                           CLL OR D 0.4                                                                                        CLL 95% CI D 0.1–1.8
                                                                                                           Hairy-cell leukemia OR D 1.8                                                                        Hairy-cell leukemia 95% CI D 0.3–9.3
                                                                                                           HL OR D 1.7                                                                                         HL 95% CI D 0.6–5.0
                                                                                                           MM OR D 2.4                                                                                         MM 95% CI D 0.8–7.3
       Pahwa et al.[34]          2012   Never used glyphosate: 310 cases, 1373 controls                    MM OR D 1.22                                                                                        MM 95% CI D 0.77–1.93
                                          Ever used glyphosate: 32 cases, 133 controls
       Sorahan[26]               2015   Never used glyphosate: 8 cases, 13,280 cohort members (of          Fully adjusted MM RR, cohort of 54,315 D 1.24                                                       Fully adjusted MM 95% CI, cohort of 54,315 D 0.52–2.94
                                          54,315); 4 cases, 11,881 cohort members (of 49,211); 3 cases,    Age- and sex-adjusted MM RR, cohort of 54,315 D 1.12                                                Age- and sex-adjusted MM 95% CI, cohort of 54,315 D 0.50–2.49
                                          9809 cohort members (of 40,719)                                  Age-adjusted MM RR, cohort of 54,315 D 1.08                                                         Age-adjusted MM 95% CI, cohort of 54,315 D 0.48–2.41
                                        Ever used glyphosate: 24 cases, 41,035 cohort members (of          Age-adjusted MM RR, cohort of 49,211 D 1.91                                                         Age-adjusted MM 95% CI, cohort of 49,211 D 0.66–5.53
                                          54,315); 22 cases, 37,330 cohort members (of 49,211);            Intermediate adjusted MM RR, cohort of 49,211 D 2.07                                                Intermediate adjusted MM 95% CI, cohort of 49,211 D 0.71–6.04
                                          19 cases, 30,910 cohort members (of 40,719)                      Age-adjusted MM RR, cohort of 40,719 D 2.21                                                         Age-adjusted MM 95% CI, cohort of 40,719 D 0.65–7.48
                                                                                                           Fully adjusted MM RR, cohort of 40,719 D 2.79                                                       Fully adjusted MM 95% CI, cohort of 40,719 D 0.78–9.96
                                        1–20 glyphosate exposure days: 10 cases                            Cumulative exposure days, tertiles 1, 2, and 3 vs. never                                            Cumulative exposure days, tertiles 1, 2, and 3 vs. never
                                        21–56 glyphosate exposure days: 8 cases                            Fully adjusted MM RRs D 1.14, 1.52, 1.38; p-trend D 0.48 using scores, > 0.50 using means           Fully adjusted MM 95% CIs D 0.43–3.03, 0.54–4.34, 0.42–4.45
                                        57–2678 glyphosate exposure days: 6 cases                          Intermediate adjusted MM RRs D 1.13, 1.50, 1.23; p-trend > 0.50 using scores or means               Intermediate adjusted MM 95% CIs D 0.44–2.88, 0.56–4.05, 0.42–3.58
                                        0.1–79.5 intensity-weighted glyphosate exposure days: 6 cases      Age- and sex-adjusted MM RRs D 1.06, 1.34, 1.08; p-trend > 0.50 using scores or means               Age- and sex-adjusted MM 95% CIs D 0.42–2.70, 0.50–3.58, 0.37–3.11
                                        79.6–337.1 intensity-weighted glyphosate exposure days: 8 cases    Intensity-weighted exposure days, tertiles 1, 2, and 3 vs. never                                    Intensity-weighted exposure days, tertiles 1, 2, and 3 vs. never
                                        337.2–18,241 intensity-weighted glyphosate exposure days: 10       Fully adjusted MM RRs D 1.00, 1.27, 1.87; p-trend D 0.22 using scores, 0.18 using means             Fully adjusted MM 95% CIs D 0.33–3.00, 0.45–3.56, 0.67–5.27
                                          cases                                                            Intermediate adjusted MM RRs D 0.99, 1.22, 1.65; p-trend D 0.27 using scores, 0.24 using means      Intermediate adjusted MM 95% CIs D 0.34–2.86, 0.45–3.28, 0.64–4.24
                                                                                                           Age- and sex-adjusted MM RRs D 0.91, 1.12, 1.44; p-trend D 0.39 using scores, 0.33 using means      Age- and sex-adjusted MM 95% CIs D 0.31–2.62, 0.42–3.00, 0.57–3.67
                                        Never used glyphosate: 8 cases                                     MM RR, ever glyphosate D 1.18                                                                       MM 95% CI, ever glyphosate D 0.53–2.65
                                        Ever used glyphosate: 24                                           MM RR, unknown glyphosate D 1.71                                                                    MM 95% CI, unknown glyphosate D 0.36–8.20
                                        Unknown glyphosate use: 2 cases                                    Cumulative exposure days, tertiles 1, 2, 3, and unknown vs. never                                   Cumulative exposure days, tertiles 1, 2, 3, and unknown vs. never
                                                                                                           MM RRs D 1.11, 1.45, 1.17, 1.19; p-trend > 0.50 using scores or means, excluding unknown            MM 95% CIs D 0.44–2.83, 0.54–3.88, 0.40–3.41, 0.25–5.65
                                                                                                           Intensity-weighted exposure days, tertiles 1, 2, 3, and unknown vs. never                           Intensity-weighted exposure days, tertiles 1, 2, 3, and unknown vs. never
                                                                                                           MM RRs D 0.95, 1.19, 1.58, 1.04; p-trend D 0.30 using scores, 0.26 using means, excluding unknown   MM 95% CIs D 0.33–2.75, 0.44–3.19, 0.62–4.05, 0.22–4.92
                                                                                                                                                                                                                                                                                                Case 3:16-md-02741-VC Document 653-8 Filed 10/28/17 Page 16 of 29




      CI: conﬁdence interval; CLL: chronic lymphocytic leukemia; DLBCL: diffuse large B-cell lymphoma; FL: follicular lymphoma; HL: Hodgkin lymphoma; LHC: lymphohematopoietic cancer; LPS: lymphoproliferative syndrome; MM: multiple
        myeloma; NHL: non-Hodgkin lymphoma; NR: not reported; OR: odds ratio; RR: relative risk; SLL: small lymphocytic lymphoma.




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Table 3. Selected estimates included in meta-analyses and calculated meta-analysis relative risks (meta-RRs) of the association between glyphosate exposure and risk of
(LHC), including non-Hodgkin lymphoma (NHL), NHL subtypes, Hodgkin lymphoma (HL), multiple myeloma (MM), and leukemia.
    Study #          Authors            Year              Outcome              Number of exposed subjects                   RR                                 95% CI

    1         De Roos et al.[13]        2003   Non-Hodgkin lymphoma            36 cases, 61 controls          a. 1.6 (hierarchical regression)   a. 0.9–2.8 (hierarchical regression)
                                                                                                                  b. 2.1 (logistic regression)       b. 1.1–4.0 (logistic regression)
                            [12]                                                       
    2         De Roos et al.            2005   Non-Hodgkin lymphoma            71 cases                                       1.1                               0.7–1.9
    3         Eriksson et al.[14]       2008   Non-Hodgkin lymphoma            29 cases, 18 controls                         1.51                              0.77–2.94
    4         Hardell et al.[15]        2002   Non-Hodgkin lymphoma            8 cases, 8 controls                           1.85                              0.55–6.20
    5         Hohenadel et al.[28]      2011   Non-Hodgkin lymphoma            50 cases, 133 controls         1.40 (random effects meta-RR)                    0.62–3.15
                                                                                                                                                        (random effects meta-CI)
    6         McDufﬁe et al.[16]        2001   Non-Hodgkin lymphoma            51 cases, 133 controls                      1.2                                 0.83–1.74
    7         Orsi et al.[17]           2009   Non-Hodgkin lymphoma            12 cases, 24 controls                       1.0                                  0.5–2.2
              Meta-analysis model              Outcome                         Studies included                          Meta-RR                                95% CI                  I2      Pheterogeneity
              Model 1                          Non-Hodgkin lymphoma            1a, 2, 3, 4, 6, 7                           1.3                                  1.0–1.6                 0.0%    0.84
              Model 2                          Non-Hodgkin lymphoma            1b, 2, 3, 4, 6, 7                           1.3                                  1.0–1.6                 0.0%    0.59
              Model 3                          Non-Hodgkin lymphoma            1a, 2, 3, 4, 5, 7                           1.3                                  1.0–1.7                 0.0%    0.85
              Model 4                          Non-Hodgkin lymphoma            1b, 2, 3, 4, 5, 7                           1.4                                  1.0–1.8                 0.0%    0.63

    3         Eriksson et al.[14]       2008   B-cell lymphoma                 Not reported                               1.87                               0.998–3.51
    8         Cocco et al.[18]          2013   B-cell lymphoma                 4 cases, 2 controls                         3.1                                0.6–17.1
              Meta-analysis model              Outcome                         Studies included                          Meta-RR                               95% CI                   I2      Pheterogeneity
              Model 1                          B-cell lymphoma                 3, 8                                        2.0                                 1.1–3.6                  0.0%    0.58

    3         Eriksson et al.[14]       2008   Diffuse large B-cell lymphoma   Not reported                               1.22                               0.44–3.35
    7         Orsi et al.[17]           2009   Diffuse large B-cell lymphoma   5 cases, 24 controls                        1.0                                0.3–2.7
              Meta-analysis model              Outcome                         Studies included                          Meta-RR                              95% CI                    I2      Pheterogeneity
              Model 1                          Diffuse large B-cell lymphoma   3, 7                                        1.1                                0.5–2.3                   0.0%    0.79

    3         Eriksson et al.[14]       2008   CLL/SLL                         Not reported                               3.35                               1.42–7.89
    7         Orsi et al.[17]           2009   CLL/SLL                         2 cases, 18 controls                        0.4                                0.1–1.8
              Meta-analysis model              Outcome                         Studies included                          Meta-RR                              95% CI                    I2      Pheterogeneity
              Model 1, random effects          CLL/SLL                         3, 7                                        1.3                               0.2–10.0                   83.7%   0.01
              Model 1, ﬁxed effects            CLL/SLL                         3, 7                                        1.9                                0.9–4.0

    3         Eriksson et al.[14]       2008   Follicular lymphoma             Not reported                               1.89                               0.62–5.79
    7         Orsi et al.[17]           2009   Follicular lymphoma             3 cases, 24 controls                        1.4                                0.4–5.2
              Meta-analysis model              Outcome                         Studies included                          Meta-RR                              95% CI                    I2      Pheterogeneity
              Model 1                          Follicular lymphoma             3, 7                                        1.7                                0.7–3.9                   0.0%    0.73

    7         Orsi et al.[17]           2009   Hairy-cell leukemia             2 cases, 18 controls                        1.8                                 0.3–9.3
    9         Nordstr€om et al.[30]     1998   Hairy-cell leukemia             4 cases, 5 controls                         3.1                                 0.8–12
              Meta-analysis model              Outcome                         Studies included                          Meta-RR                               95% CI                   I2      Pheterogeneity
              Model 1                          Hairy-cell leukemia             7, 9                                        2.5                                 0.9–7.3                  0.0%    0.63

    7         Orsi et al.[17]           2009   Hodgkin lymphoma                6 cases, 24 controls                        1.7                                0.6–5.0
    10        Karunanayake et al.[31]   2012   Hodgkin lymphoma                38 cases, 133 controls                     0.99                               0.62–1.56
              Meta-analysis model              Outcome                         Studies included                          Meta-RR                              95% CI                    I2      Pheterogeneity
              Model 1                          Hodgkin lymphoma                7, 10                                       1.1                                0.7–1.6                   0.0%    0.36

    2         De Roos et al.[12]        2005   Multiple myeloma                19 casesy                                    2.6                                0.7–9.4
    7         Orsi et al.[17]           2009   Multiple myeloma                5 cases, 24 controls                         2.4                                0.8–7.3
    11        Brown et al.[32]          1993   Multiple myeloma                11 cases, 40 controls                        1.7                                0.8–3.6
    12        Kachuri et al.[33]        2013   Multiple myeloma                32 cases, 121 controls             a. 1.19 (with proxies)             a. 0.76–1.87 (with proxies)
                                                                                                                  b. 1.11 (without proxies)         b. 0.66–1.86 (without proxies)
    13        Pahwa et al.[34]          2012   Multiple myeloma                32 cases, 133 controls                      1.22                              0.77–1.93
    14        Sorahan[26]               2015   Multiple myeloma                24 cases                                    1.24                              0.52–2.94
              Meta-analysis model              Outcome                         Studies included                          Meta-RR                               95% CI                   I2      Pheterogeneity
              Model 1                          Multiple myeloma                7, 11, 12a, 14                               1.4                                1.0–1.9                  0.0%    0.63
              Model 2                          Multiple myeloma                2, 7, 11, 12a                                1.5                                1.0–2.1                  0.0%    0.48
              Model 3                          Multiple myeloma                7, 11, 12b, 14                               1.4                                0.9–1.9                  0.0%    0.58
              Model 4                          Multiple myeloma                7, 11, 13, 14                                1.4                                1.0–2.0                  0.0%    0.66
              Model 5                          Multiple myeloma                2, 7, 11, 13                                 1.5                                1.0–2.1                  0.0%    0.52

    2         De Roos et al.[12]        2005   Leukemia                        43 cases                                   1.0                                 0.5–1.9
    16        Brown et al.[35]          1990   Leukemia                        15 cases, 49 controls                       0.9                                 0.5–1.6
    17        Kaufman et al.[36]        2009   Leukemia                        1 case, 3 controls                          1.4                               0.15–13.56
              Meta-analysis model              Outcome                         Studies included                          Meta-RR                               95% CI                   I2      Pheterogeneity
              Model 1                          Leukemia                        2, 16, 17                                   1.0                                 0.6–1.5                  0.0%    0.92


Number of exposed cases is provided for the total cohort of 54,315 subjects; the number of exposed cases in the analytic cohort of 49,211 subjects is not stated.
y
 Number of exposed cases is provided for the analytic cohort of 40,719 subjects, as reported by Sorahan.[26]
CI: conﬁdence interval; CLL: chronic lymphocytic leukemia; RR: relative risk; SLL: small lymphocytic lymphoma.

leukemia, one with unspeciﬁed B-cell lymphoma, and one                                                         Based on the same two studies,[14,17] the meta-RR for the
with MM. Eriksson et al.[14] did not report the number of                                                   association between any use of glyphosate and risk of
exposed cases, but overall the B-cell lymphomas in their                                                    chronic lymphocytic leukemia/small lymphocytic lymphoma
study comprised 29% diffuse large B-cell lymphoma, 24%                                                      was 1.3 (95% CI D 0.2–10.0) according to the random-
chronic lymphocytic leukemia/small lymphocytic lym-                                                         effects model and 1.9 (95% CI D 0.9–4.0) according to the
phoma, 20% follicular lymphoma grades I–III, 16% other                                                      ﬁxed-effects model, with signiﬁcant heterogeneity between
speciﬁed B-cell lymphoma, and 11% unspeciﬁed B-cell lym-                                                    the two included estimates (I2 D 83.7%, pheterogeneity D 0.01)
phoma; MM cases were not included.                                                                          (Table 3).
   The meta-RR for the association between any use of glypho-                                                  Results for follicular lymphoma from these two studies,[14,17]
sate and risk of diffuse large B-cell lymphoma, based on two                                                by contrast, were not signiﬁcantly heterogeneous (I2 D 0.0%,
studies,[14,17] was 1.1 (95% CI D 0.5–2.3) using both the ran-                                              pheterogeneity D 0.73), with a meta-RR of 1.7 (95% CI D 0.7–3.9)
dom-effects and the ﬁxed-effects models (I2 D 0.0%,                                                         in both the random-effects and the ﬁxed-effects models
pheterogeneity D 0.79) (Table 3).                                                                           (Table 3).
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Figure 2. Forest plots of relative risk (RR) estimates and 95% conﬁdence intervals (CIs) for the association between glyphosate exposure and risk of multiple myeloma.
Meta-RRs were identical in random-effects and ﬁxed-effects models.


   Finally, the two studies that reported associations between                      minimal impact on the meta-RR (1.4, 95% CI D 1.0–2.0; same
any glyphosate use and risk of hairy-cell leukemia[17,30] yielded                   for random-effects and ﬁxed-effects models). When both the De
a meta-RR of 2.5 (95% CI D 0.9–7.3) in the random-effects and                       Roos et al.[12] and the Pahwa et al.[34] substitutions were made,
ﬁxed-effects models (I2 D 0.0%, pheterogeneity D 0.63) (Table 3).                   the resultant meta-RR was the same as that when only De Roos
                                                                                    et al.[12] was used (meta-RR D 1.5, 95% CI D 1.0–1.2 in ran-
HL                                                                                  dom-effects and ﬁxed-effects models).
Both of the published, fully adjusted RRs and 95% CIs for the
association between any glyphosate use and HL risk (Table 2)                        Leukemia
were included in the meta-analysis (Table 3). Based on two                          Of the four published RRs and 95% CIs for the association
studies,[17,31] the meta-RR was 1.1 (95% CI D 0.7–1.6) in both                      between any use of glyphosate and risk of leukemia (Table 2),
the random-effects and the ﬁxed-effects models, with I2 D 0.0%                      three (excluding one age-adjusted RR in favor of a more fully
and pheterogeneity D 0.36 (Table 3). Publication bias was not eval-                 adjusted RR from De Roos et al.[12]) were included in the meta-
uated due to the availability of only two studies of HL.                            analysis (Table 3). The meta-RR based on three studies[12,35,36]
                                                                                    was 1.0 (95% CI D 0.6–1.5) using the random-effects model
MM                                                                                  and the ﬁxed-effects model (I2 D 0.0%, pheterogeneity D 0.92)
All relevant RRs and 95% CIs for the association between                            (Table 3). Publication bias was not assessed because only three
glyphosate use and risk of MM, including estimates that did                         studies of leukemia were available.
not contribute to the meta-analysis, are shown in Table 2. The
independent estimates selected for inclusion in the meta-analy-
sis are shown in Table 3.                                                           Sensitivity analysis
    The combined meta-RR for the association between any                            A sensitivity analysis was conducted for overall NHL only
glyphosate use and risk of MM, based on four stud-                                  (Table 4), because other outcomes had an insufﬁcient num-
ies,[17,26,32,33] was 1.4 (95% CI D 1.0–1.9) according to the                       ber of studies for stratiﬁcation. In all strata, the random-
random-effects and ﬁxed-effects models (Table 3, Fig. 2).                           effects and ﬁxed-effects meta-RRs were identical and I2 was
On the basis of the I2 value of 0.0% and the P-value of 0.63                        0.0%. Results did not differ substantially from the main
for Cochran’s Q statistic, between-study heterogeneity was                          meta-RR (1.3, 95% CI D 1.0–1.6) when the analysis was
not evident. Egger’s linear regression approach yielded no                          restricted to case-control studies (meta-RR D 1.3, 95% CI D
signiﬁcant evidence of publication bias (one-tailed P-value                         1.0–1.7) or those with population-based controls (meta-RR
for asymmetry D 0.10), while the imputed meta-RR using                              D 1.4, 95% CI D 1.0–1.8). Meta-analysis could not be con-
the trim-and-ﬁll procedure to adjust for publication bias                           ducted for cohort studies or studies with hospital-based
was 1.3 (95% CI D 0.9–1.8).
    Several secondary analyses were conducted for MM by                             Table 4. Sensitivity analysis of the association between glyphosate exposure and
replacing RRs in the primary meta-analysis with alternative esti-                   risk of non-Hodgkin lymphoma (NHL).
mates (Table 3). When the RR reported by De Roos et al.,[12]                            Stratum                  Number of studies          Meta-RR            95% CI
who excluded cohort members with missing data from their
                                                                                        All                              6                     1.3             1.0–1.6
analysis, was substituted for the one reported by Sorahan,[26]
                                                                                        Case-control                     5                     1.3             1.0–1.7
who included such subjects by creating a separate category for                          Cohort                           1                     NR
missing or unknown data, the meta-RR was slightly increased
                                                                                        Population controls              4                     1.4             1.0–1.8
to 1.5 (95% CI D 1.0–2.1) and was the same for random-effects                           Hospital controls                1                     NR
and ﬁxed-effects models. When the main RR from Kachuri                                  Males only                       4                     1.3             1.0–1.7
et al.[33] was replaced with the RR from the same study after                           Males and females                2                     1.2             0.8–1.8
exclusion of data reported by proxy respondents, the meta-RR                            North America                    3                     1.2             1.0–1.6
was not appreciably different from the original estimate (alter-                        Europe                           3                     1.3             0.8–2.1
                                                                                        Sweden                           2                     1.6             0.9–2.8
native meta-RR D 1.4, 95% CI D 0.9–1.9 in random-effects and
ﬁxed-effects models). Another secondary analysis included the                           Cases in 1980s
                                                                                        Cases in 1990s
                                                                                                                         2
                                                                                                                         4
                                                                                                                                               1.6
                                                                                                                                               1.2
                                                                                                                                                               1.0–2.7
                                                                                                                                                               1.0–1.6
RR reported by Pahwa et al.,[34] who adjusted for a slightly dif-                       Cases in 2000s                   3                     1.2             0.8–1.7
ferent (and smaller) set of confounders than Kachuri et al.[33]                     
                                                                                     All meta-RRs were identical in random-effects and ﬁxed-effects models.
and also retained controls who were too young to have any age-                      CI: conﬁdence interval; meta-RR: meta-analysis relative risk; NR: not reported, when
matched MM cases in this Canadian study. This change had                              only one study was available.
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controls because only one of each of these study types was           21–56, or 57–2,678 days) and tertiles of intensity-weighted
available. No major differences were detected between stud-          cumulative days of use (i.e., years of use £ days per year £
ies restricted to males (meta-RR D 1.3, 95% CI D 1.0–1.7)            intensity level, where intensity was deﬁned as (mixing status C
and those that included males and females (meta-RR D 1.2,            application method C equipment repair status) £ personal
95% CI D 0.8–1.8) or between those conducted in North                protective equipment use). In analyses adjusted for age, educa-
America (meta-RR D 1.2, 95% CI D 1.0–1.6) and those con-             tion, smoking, alcohol, family history of cancer, and state of
ducted in Europe (meta-RR D 1.3, 95% CI D 0.8–2.1).                  residence, no signiﬁcant trend was detected for NHL risk in
Prompted by Schinasi and Leon,[11] we also conducted a               association with increasing cumulative days of glyphosate use
stratiﬁed meta-analysis of the two studies conducted in Swe-         (RRs for tertiles 1, 2, and 3, respectively D 1.0 (referent), 0.7
den[14,15] and found a stronger, albeit statistically non-signif-    (95% CI D 0.4–1.4), and 0.9 (95% CI D 0.5–1.6); ptrend D 0.73)
icant, association in these particular studies (meta-RR D 1.6,       or intensity-weighted cumulative exposure days (RRs D 1.0
95% CI D 0.9–2.8). The estimated meta-RR declined some-              (referent), 0.6 (95% CI D 0.3–1.1), and 0.8 (95% CI D 0.5–1.4);
what from studies that ascertained cases in the 1980s (meta-         ptrend D 0.99).
RR D 1.6, 95% CI D 1.0–2.7) to those conducted in the                    Exposure-response trends between glyphosate use and risk
1990s (meta-RR D 1.2, 95% CI D 1.0–1.6) to those con-                of speciﬁc NHL subtypes were not evaluated in any of the
ducted in the 2000s (meta-RR D 1.2, 95% CI D 0.8–1.7).               included studies.

Exposure-response trends                                             HL. No studies assessed exposure-response trends between
                                                                     glyphosate use and risk of HL.
NHL and subtypes. Three studies evaluated exposure-response
trends between glyphosate use and NHL risk, with exposure            MM. Three studies reported exposure-response trends
classiﬁed as cumulative lifetime[12,14] or annual[16] days of        between glyphosate use and MM risk, including the two analy-
glyphosate use (Table 2). Two studies detected some evidence         ses based on the same Agricultural Health Study cohort data-
of a positive exposure-response trend (statistical signiﬁcance       set[12,26] and the Canadian case-control study[33] (Table 2). The
not reported),[14,16] whereas the other did not.[12] All of these    case-control study found mixed evidence of a positive trend
studies relied wholly or in part on evaluating days of glyphosate    (statistical signiﬁcance not reported), while a positive trend was
use in an attempt to quantify exposure; however, this metric         detected in one analysis of the cohort data[12] but not the
has been shown to be a poor indicator of actual glyphosate           other.[25]
dose received.[52]                                                      The Canadian case-control study found a lower risk of MM
    In a model adjusted for age, sex, and year of diagnosis or       among those who used glyphosate for up to two days per year
enrollment, Eriksson et al.[14] found that the RR of NHL was         than those who had never used glyphosate (RR D 0.72, 95%
higher with > 10 days of lifetime glyphosate use (RR D 2.36,         CI D 0.39–1.32).[33] However, risk was higher in those with
95% CI D 1.04–5.37) than with  10 days (RR D 1.69, 95%              more than two days of glyphosate use per year (RR D 2.04, 95%
CI D 0.70–4.07), compared with no pesticide use. Also, the RR        CI D 0.98–4.23), adjusting for age, province of residence, proxy
of NHL was higher after more than 10 years since ﬁrst use of         status, smoking, personal medical history, and family history of
glyphosate (RR D 2.26, 95% CI D 1.16–4.40) than after 1–             cancer. Results were similar after exclusion of data reported by
10 years (RR D 1.11, 95% CI D 0.24–5.08). Statistical tests for      proxy subjects. The authors did not conduct statistical tests for
trend were not performed, and exposure-response analyses             exposure-response trends.
adjusted for other potential confounders (i.e., 2-methyl-4-             Based on the 55% of Agricultural Health Study cohort mem-
chlorophenoxyacetic acid (MCPA), 2,4,5-trichlorophenoxyace-          bers who had available exposure and covariate data, De Roos
tic acid (2,4,5-T) and/or 2,4-dichlorophenoxyacetic acid (2,4-       et al.[12] reported a positive, albeit statistically non-signiﬁcant,
D), mercurial seed dressing, arsenic, creosote, and tar) were not    trend between MM risk and increasing tertiles of cumulative
presented, even though adjustment for these characteristics          days of glyphosate use (RRs for tertiles 1, 2, and 3, respectively
attenuated the RR for overall glyphosate use from 2.02 to 1.51.      D 1.0 (referent), 1.1 (95% CI D 0.4–3.5), and 1.9 (95% CI D
    McDufﬁe et al.[16] reported that the RR for more than two        0.6–6.3); ptrend D 0.27) or intensity-weighted cumulative days
days of glyphosate use per year (RR = 2.12, 95% CI D 1.20–           of use (RRs D 1.0 (referent), 1.2 (95% CI D 0.4–3.8), and 2.1
3.73) was higher than that for up to two days per year (RR D         (95% CI D 0.6–7.0); ptrend D 0.17). These estimates were
1.00, 95% CI D 0.63–1.57), compared with never use, adjusting        adjusted for age, education, smoking, alcohol, family history of
for age and province of residence. Tests for a signiﬁcant expo-      cancer, state of residence, the ﬁve pesticides for which cumula-
sure-response trend were not performed, and results were not         tive-use variables were most highly associated with glyphosate
reported after adjustment for other potential confounders (i.e.,     cumulative use days (i.e., 2,4-D, alachlor, atrazine, metolachlor,
personal medical history and family history of cancer; adjust-       and triﬂuralin), and the ﬁve pesticides that were most highly
ment for these characteristics attenuated the RR for overall         associated with ever use of glyphosate (i.e., benomyl, maneb,
glyphosate use from 1.26 to 1.20) or signiﬁcantly associated         paraquat, carbaryl, and diazinon). When intensity alone was
pesticides (i.e., aldrin, dicamba, and mecoprop) in this study       analyzed in association with MM risk, the RR for the highest
population.                                                          versus the lowest tertile was 0.6 (95% CI D 0.2–1.8), indicating
    The most detailed analysis of glyphosate-NHL exposure-           that the suggested trend was due only to total days of use.
response trends was performed by De Roos et al.,[12] who exam-       When subjects who never used glyphosate were set as the refer-
ined tertiles of cumulative lifetime days of glyphosate use (1–20,   ence group, the RRs for tertiles 1, 2, and 3 of cumulative days
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of use were 2.3 (95% CI D 0.6–8.9), 2.6 (95% CI D 0.6–11.5),          exposure and outcome of interest or, less commonly, if baseline
and 4.4 (95% CI D 1.0–20.2); ptrend D 0.09. When cumulative           participation differs by exposure status and risk of developing
use was categorized into quartiles, the RR for the highest quar-      the outcome of interest in the future (e.g., based on having a
tile versus never use was 6.6 (95% CI D 1.4–30.6);                    positive family history of an outcome with a genetic susceptibil-
ptrend D 0.01.                                                        ity component). Selection bias in any study also can occur if
    In contrast to De Roos et al.,[12] Sorahan[26] included more      inclusion in the data analysis, e.g., predicated on data complete-
than 53,000 eligible cohort members in the analysis (excluding        ness, differs by exposure and outcome status. In general, lower
only those with a history of cancer before enrollment, loss to        participation, follow-up, or data completeness and large differ-
follow-up, missing data on age at enrollment, or missing data         ences in participation between groups increase the potential
on glyphosate use) by creating separate categories for missing        magnitude of selection bias.
or unknown exposure and covariate data. Adjusting for age,                Table 1 shows the reported participation and follow-up pro-
sex, education, smoking, alcohol, family history of cancer, and       portions in all reviewed studies. Most studies did not report
the same 10 pesticides as De Roos et al.,[12] the RRs for each        data completeness. The substantial differences in participation
tertile of cumulative days of glyphosate use, compared with           between cases and controls in the European multi-center
never use, were 1.14 (95% CI D 0.43–3.03), 1.52 (95% CI D             study,[18] the most recent Swedish study,[14] and the Canadian
0.54–4.34), and 1.38 (95% CI D 0.42–4.45); ptrend D 0.48              study, which also had relatively low absolute participation pro-
using category scores of 1–4, ptrend > 0.50 using mean expo-          portions of <70% for cases and <50% for controls,[16,28,31,33,34]
sures within categories. RRs for increasing tertiles of intensity-    are of particular concern. However, the smaller discrepancies
weighted days of use versus never use were 1.00 (95% CI D             between case and control participation in other studies also
0.33–3.00), 1.27 (95% CI D 0.45–3.56), and 1.87 (95% CI D             could have produced selection bias. Moreover, even identical
0.67–5.27); ptrend D 0.22 using scores, ptrend D 0.18 using           participation by cases and controls can obscure differences in
means. When Sorahan[26] expanded the eligible cohort to               reasons for study participation that could result in bias.
55,934 subjects to include those with unknown use of glypho-              Given that several case-control studies were originally
sate, he again detected no signiﬁcant exposure-response trends        designed to evaluate associations between pesticides and risk of
with respect to either cumulative days of use (for tertiles 1, 2,     LHC,[13–16,28,31–35] it is plausible that cases with a history of
and 3 and unknown use versus never use, respectively, RRs D           agricultural pesticide use were more likely than controls to par-
1.11 (95% CI D 0.44–2.83), 1.45 (95% CI D 0.54–3.88), 1.17            ticipate, thereby biasing results toward a positive association
(95% CI D 0.40–3.41), and 1.19 (95% CI D 0.25–5.65); ptrend           for glyphosate as well as other pesticides. It is also possible that
> 0.50 across categories of known use using scores or means,          certain sources of controls in some of these studies (e.g., resi-
excluding unknown) or intensity-weighted cumulative days of           dential telephone calls and voter lists) were more likely to iden-
use (RRs D 0.95 (95% CI D 0.33–2.75), 1.19 (95% CI D                  tify individuals who were not farmers, again biasing results
0.44–3.19), 1.58 (95% CI D 0.62–4.05), and 1.04 (95% CI D             toward a positive association. Investigators from the Canadian
0.22–4.92); ptrend D 0.30 using scores, ptrend D 0.26 using           study[16,28,31,33,34] reported that an analysis of postal codes
means, excluding unknown).                                            showed that respondents and non-respondents did not differ
                                                                      signiﬁcantly in terms of rural versus urban residence, but they
Leukemia. The De Roos et al.[12] study based on the Agri-             could not examine differences in occupation or pesticide use.
cultural Health Study cohort was the only study that                      Although the initial follow-up completion of >99% in the
reported exposure-response trends between glyphosate use              Agricultural Health Study was high,[12,25] the sizeable propor-
and risk of leukemia (Table 2). No signiﬁcant trend was               tions of subjects with missing data raise concerns about selec-
observed between increasing tertiles of cumulative days of            tion bias. Speciﬁcally, 88% of the eligible cohort (excluding
glyphosate use (RRs D 1.0 (referent), 1.9 (95% CI D 0.8–              those who were diagnosed with cancer before enrollment or
4.5), and 1.0 (95% CI D 0.4–2.9) for tertiles 1, 2, and 3,            were lost to follow-up) provided usable data on ever use of
respectively; ptrend D 0.61) or intensity-weighted cumulative         glyphosate and key demographic and lifestyle covariates, 73%
days of use (RRs D 1.0 (referent), 1.9 (95% CI D 0.8–4.7),            additionally provided data on use of other pesticides, 65–66%
and 0.7 (95% CI D 0.2–2.1); ptrend D 0.11), adjusting for             contributed to analyses of cumulative days of glyphosate use
demographic and lifestyle factors as well as other                    (with or without intensity weighting), and 55% contributed to
pesticides.                                                           analyses of cumulative use additionally adjusted for other pesti-
                                                                      cides. Questionnaire completion could conceivably have varied
                                                                      by demographic and lifestyle factors that are associated with
Evaluation of bias
                                                                      LHC risk, thereby producing bias. Neither analysis accounted
Selection bias                                                        for missing data using methods such as multiple imputation or
All studies of the association between glyphosate exposure and        inverse probability weighting.
risk of LHC were case-control studies except for the Agricul-             Differential data completeness by disease status is more
tural Health Study, the prospective cohort study that served as       likely to occur in case-control studies, such as the pooled Mid-
the basis for the studies by De Roos et al.[12] and Sorahan.[26] In   western U.S. study conducted by De Roos et al.[13] In this study,
case-control studies, differences in participation patterns           the analysis of multiple pesticides excluded 25% of cases and
between cases and controls can result in selection bias if partici-   25% of controls who lacked complete data. Although the overall
pation is related to the exposure of interest. In cohort studies,     frequency of missing data was the same between cases and con-
selection bias can occur if loss to follow-up is related to the       trols, this exclusion could have led to selection bias if subjects’
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reasons for providing complete data, and thus being included in      speciﬁc years of use was better for insecticide use than herbicide
the analysis, differed by disease status and were related to         use; that the differences between agreement for cases and con-
glyphosate exposure status. The authors also excluded subjects       trols were not consistent; and that agreement between suppliers
who had lived or worked on a farm before age 18 years. If            and subjects was better for pesticide use within the last 10 years
glyphosate use was more common in such subjects, then RR             than for earlier use. Quantitative results on concordance were
estimates would have been biased upward if a childhood farm          not provided by Hoar et al.,[47] but in a summary of this study
environment was inversely associated with NHL risk[53] and           shared with Dosman et al.[58] the authors stated that reports on
biased downward if the association was positive.[54]                 herbicide use agreed 59% of the time, with little variation by
                                                                     crop type, and that reports on insecticide use also agreed 59%
Exposure misclassiﬁcation                                            of the time, but differed by crop type.
All of the included studies assessed use of glyphosate and other         In the Agricultural Health Study, the reliability of the ques-
pesticides based on self-reported information (Table 1), which       tion on ever having mixed or applied glyphosate was evaluated
is prone to various types of error, such as better recall by cases   by comparing responses to two questionnaires completed one
than controls and by subjects than proxies, inaccurate recall of     year apart by 3,763 pesticide applicators.[59] Agreement on a pos-
speciﬁc pesticides and amounts used, and a lack of the best          itive response to the question was 82%, and the kappa statistic
measure of biological dose received.[55] Thus, probable expo-        value for inter-rater agreement was moderate (0.54, 95% CI D
sure misclassiﬁcation is a key limitation of all of these studies.   0.52–0.58). For more detailed questions about glyphosate use,
The degree of misclassiﬁcation may vary by mode of data col-         including years mixed or applied, days per year mixed or
lection, for example, by written questionnaire, telephone inter-     applied, and decade ﬁrst applied, the percentage with exact
view, or in-person interview.[56] The extent of misclassiﬁcation     agreement ranged from 52% to 62% and kappa ranged from
also may depend on questionnaire structure, for example,             0.37 to 0.71. These metrics evaluated only the reliability (i.e.,
whether subjects were asked in an open-ended manner to               reproducibility) of self-reported glyphosate use, not its accuracy.
report use of any pesticides or whether they were prompted to            Subsequent exposure validation studies for other pesticides
report use of speciﬁc pesticides based on a prepared list.[57]       in the Agricultural Health Study, based on comparisons
Some authors did not clearly describe the structure of their         between exposure intensity estimated from an expert-derived
study’s questions on pesticide use.                                  algorithm using self-reported or directly observed exposure
    Of the eight independent study populations included in this      data and pesticide biomarker levels measured in urine, yielded
review (seven studies of NHL with or without other types of          Spearman correlation coefﬁcients between 0.4 and 0.8, depend-
LHC and one study of leukemia), three provided information           ing on the type of pesticide.[60,61] Correlations with urinary
on validation of their exposure assessment methods: the Cana-        biomarker levels were poorer for self-reported determinants of
dian case-control study,[16,28,31,33,34] the Agricultural Health     pesticide exposure such as kilograms of active ingredient,
Study,[12,26] and the Kansas case-control study[47] that contrib-    hours spent mixing and applying, and number of acres treated,
uted to the pooled Midwestern U.S. study by De Roos et al.[13]       with correlation coefﬁcients of ¡0.4 to 0.2, but application
Overall, these studies do not establish the validity of self-        method and use of personal protective equipment were found
reported information on glyphosate use; rather, the limited          to be important determinants of exposure intensity. However,
results suggest considerable error and inconsistency in such         the latter factors were evaluated in the study questionnaire
data.                                                                only for pesticides or pesticide classes in general, not for glyph-
    Speciﬁcally, in the Canadian study, Dosman et al.[58] reported   osate or other individual pesticides;[62] thus, limitations remain
on the results of a validation pilot study of 21 volunteer farmers   in the assessment of speciﬁc pesticide exposures.
whose self-reported pesticide use was compared with written              Several studies included a sizeable proportion of surveys that
records of pesticide purchases through their local agrochemical      were completed by proxy respondents for deceased or other-
supplier. Of the 21 farmers, 17 (81%) had a supplier who had         wise unavailable cases and controls (Table 1). The use of expo-
retained written records; the remaining four transactions were       sure data reported by surrogates most likely resulted in even
conducted with cash. Based on the written records, 146 (65%)         poorer accuracy of exposure information in these studies.
of 226 chemicals reported by farmers were veriﬁed; 50 of the         Although some exposure misclassiﬁcation may have been non-
unveriﬁed reports were potentially explained by aerial applica-      differential by disease status, such error does not inevitably
tions, home and garden use, use more than ﬁve years in the past      result in underestimated exposure-disease associations unless
(i.e., during 1958–1984), or use outside of Canada. In 32 instan-    additional strict conditions are met, such as independence
ces (for 25 chemicals) the suppliers’ records indicated a pur-       from other classiﬁcation errors.[63,64]
chase of chemicals that was unreported by the farmer; 2 of these         Furthermore, differential exposure misclassiﬁcation in case-
were for glyphosate. Detailed self-reported exposure (e.g., fre-     control studies can readily result in overestimated associations.
quency, intensity, and duration of use of speciﬁc pesticides)        Reasonable scenarios include more accurate and/or detailed
could not be validated in this pilot study.                          recollection of past exposures by cases, who are more motivated
    Likewise, Hoar et al.[47] reported that suppliers for 110 sub-   than controls to try to understand the potential causes of their
jects in the Kansas study (out of 130 sought) were located and       disease; false recollection by cases, who are more aware of sci-
provided information on the subjects’ crops and herbicide and        entiﬁc hypotheses or media reports that a certain exposure has
insecticide purchases as “corroborative evidence” of self-           been linked to their disease; and unconscious inﬂuence by
reported pesticide use. The authors observed that suppliers usu-     study investigators who are aware of causal hypotheses and
ally reported less pesticide use than subjects; that agreement on    subjects’ case-control status. Only the authors of the Swedish
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studies,[14,15] the French study,[17] and the Nebraska compo-         agricultural chemicals, farm animals, allergens, and infectious
nent of the pooled Midwestern U.S. study[48] speciﬁcally stated       agents. These exposures have been hypothesized, and in some
that investigators were blinded to case-control status. In reality,   studies shown, to be associated with risk of NHL, HL, MM, or
such blinding is often difﬁcult to achieve in studies that collect    leukemia,[67–73] and they are probably correlated with glyphosate
interview data.                                                       use, making them potential confounders of associations between
   Others have discussed in detail the problems of estimating         glyphosate and LHC risk. Medical history, certain infections,
individual subjects’ exposure to glyphosate from responses to         diet, alcohol consumption, and obesity also may be associated
interviews and questionnaires asking about days of use, mixing        with risk of these malignancies[74–77] and could vary by glypho-
and application procedures, use of personal protective equip-         sate use, again making them possible confounders. Even in stud-
ment, and other work practices.[19,52] Acquavella et al.[52]          ies where numerous confounders were included in multivariable
reported that any given day of pesticide use can entail highly        regression models, crude categorization or other misclassiﬁcation
variable amounts of pesticides used and numbers of mixing             of confounders could have enabled residual confounding of
operations, and that urine concentrations of glyphosate were          observed associations. The direction and magnitude of con-
poorly correlated with lifetime average exposure intensity            founding depend on the relationships of each factor with glyph-
scores derived from data self-reported by farmers using this          osate use and LHC risk, and are therefore difﬁcult to predict.
agent. Although recall bias between cases and controls generally
might be anticipated to affect all speciﬁc pesticides (including      Other issues
glyphosate) equally, variation in the degree of misclassiﬁcation      Additional issues related to the design, conduct, and reporting
due to these and other factors affecting usage and exposure           of the included studies also could have affected study results
could result in different pesticide-speciﬁc associations.             and their interpretation. For instance, Hardell et al.[15] enrolled
   Most of the case-control studies did not use procedures to         some prevalent rather than incident cases, since eligible NHL
exclude glyphosate exposure that might have occurred after dis-       cases were diagnosed in 1987–1990 but interviewed in 1993–
ease onset. The Swedish studies omitted glyphosate use within         1995.[27] The relatively long time interval between diagnosis
one year prior to diagnosis or the index date in controls,[15,30]     and interview may have hampered recollection of past expo-
or within the same calendar year or the year before.[14] In some      sures, thereby undermining the accuracy of self-reported expo-
cases, however, these restrictions may not have been sufﬁcient        sure data in this study. The delay between diagnosis and
to exclude exposure that occurred during the latency period           interview also almost certainly increased the proportion of
between disease onset and diagnosis. Inclusion of any such            cases and matched controls who were deceased (43%) and had
post-disease exposure would have led to misclassiﬁcation.             proxy interviews, leading to further exposure misclassiﬁcation.
   Finally, exposure misclassiﬁcation resulting from the crude           In the studies by De Roos et al.[13] and Brown et al.,[32,35]
dichotomization of glyphosate use as ever versus never is an          LHC cases were diagnosed in 1979–1986, 1980–1983, and
important limitation of most of the included studies. This clas-      1980–1984, respectively. With glyphosate having come to mar-
siﬁcation conﬂates individuals with considerably different fre-       ket in 1974, the cases in these studies would have had a rela-
quencies, intensities, and durations of glyphosate use, and           tively short potential induction time since ﬁrst use of
precludes potentially informative analyses of any gradient in         glyphosate. However, few studies to date have considered the
LHC risk with increasing glyphosate exposure. As described            issue of induction time. The Agricultural Health Study collected
earlier in the section on exposure-response trends, only three        information on decade of ﬁrst use of glyphosate in the baseline
independent studies reported on glyphosate use in more than           questionnaire for private pesticide applicators,[62] but did not
two (ever vs. never) categories, and only the Agricultural            use this information in the published analysis.[12] If glyphosate
Health Study evaluated more than three exposure categories.           is a cause of LHC, the actual induction time is unknown
                                                                      because the mechanism of carcinogenesis is not established.
Confounding                                                              Orsi et al.,[17] Kaufman et al.,[36] and four of the six study
As shown in Table 1, the degree of control for confounding var-       centers included in Cocco et al.[18] enrolled hospital-based
ied widely among the reviewed studies. Although several stud-         rather than population-based cases and controls. Given that
ies considered potential confounding by other pesticides or           farmers have lower hospitalization rates than non-farmers,[78]
pesticide families, only a minority[12–15,26,28] reported RR esti-    hospital-based controls may be less likely than population-
mates for the association between glyphosate use and LHC risk         based controls to report agricultural occupational exposures,
adjusted for use of other pesticides. Given that Schinasi and         including pesticides, thereby resulting in overestimated RRs for
Leon[11] found signiﬁcant associations between NHL risk and           pesticide use. On the other hand, occupational injuries are
several other types of pesticides, including carbamate insecti-       more common in agriculture than in general private indus-
cides, organophosphorus insecticides, lindane, and MCPA, and          try,[79] possibly leading to oversampling of farmers from hospi-
numerous other associations of speciﬁc pesticides with LHC            tal trauma/emergency and orthopedics departments, which
risk have been reported in the literature (e.g.,[65,66])—and          might result in underestimated RRs. We did not observe any
because most people who use pesticides occupationally are             meaningful change in the meta-RR after restriction to popula-
exposed to multiple pesticides—it is important to control for         tion-based case-control studies.
confounding, whether direct or indirect (if pesticides are surro-        As noted in Table 1, many possible analyses were not con-
gates for other risk factors), by these agents.                       ducted or not reported by authors. De Roos et al.[13] speciﬁcally
   None of the studies controlled for potential confounding by        acknowledged that they did not report results for pesticide
agricultural exposures other than pesticides, such as other           combinations that were analyzed but yielded statistically null
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associations for joint effects, and Hohenadel et al.[28] likewise          To evaluate the strength of the association between glypho-
did not show results for pesticide combinations without evi-           sate use and risk of each type of LHC, we considered the mag-
dence of joint effects. Most other authors did not explicitly state    nitude of study-speciﬁc RRs and the corresponding meta-RRs.
when null results were not reported, but the Methods sections          In individual studies, estimates of the association between
of several papers suggested that certain analyses were per-            glyphosate use and risk of NHL ranged between 1.0 and 2.1,
formed, yet not shown. Given the widespread predilection for           and estimates of the association with NHL subtypes ranged
emphasizing statistically signiﬁcant associations in published         between 0.4 and 3.35 (Table 3). For HL, the two estimates of
research articles,[80] unreported results probably are usually sta-    association were 0.99 and 1.7. For MM, RRs ranged between
tistically null. The omission of null results is a form of reporting   1.0 and 2.4, and those for leukemia ranged between 0.9 and
bias that favors positive associations.                                1.40. Most study-speciﬁc estimates were between 1.0 and 1.5.
    Other evidence suggests that statistically null associations       The estimated meta-RRs for all LHC outcomes, including those
between glyphosate and LHC risk have been underreported in             calculated in secondary and sensitivity analyses, ranged
the epidemiologic literature. For example, two of the studies          between 1.0 (for leukemia) and 2.5 (for hairy-cell leukemia).
that contributed to the pooled analysis conducted by De Roos           The meta-RRs calculated based on at least four studies ranged
et al.[13] apparently collected information on glyphosate use,         between 1.3 and 1.4. These associations are not of sufﬁcient
yet associations between glyphosate and NHL risk were not              magnitude to exclude modest bias or confounding as reason-
reported in the original publications.[47,48] In an analysis of        able explanations for the observed results.
interactions between pesticide use and asthma, allergies, or hay           Results were not consistent between case-control studies of
fever diagnosis in relation to NHL risk in the Canadian case-          NHL and the one prospective cohort study of NHL, which
control study,[81] results were reported for several speciﬁc pesti-    reported no association.[12] Even among the six studies that con-
cides, but not glyphosate, even though information was avail-          tributed to the meta-analysis of NHL, RR point estimates varied
able for glyphosate use. The most probable scenario in each of         by more than two-fold, only one statistically signiﬁcant positive
these cases is that no signiﬁcant association was detected             association was observed, and results from some studies were
between glyphosate use and NHL risk. The omission of such              internally inconsistent (Table 3). Another, arguably more appro-
results from the published literature represents a distortion of       priately adjusted RR (from a hierarchical regression model) that
the body of epidemiologic evidence.                                    was 24% lower and statistically non-signiﬁcant was reported in
    The largest number of studies included in any of the meta-         the same study that found a signiﬁcant association.[13] The lack
analyses described here was six (in the analysis of NHL), and          of statistically signiﬁcant heterogeneity among studies of NHL,
the majority of meta-analyses (of HL, B-cell lymphoma, diffuse         based on an underpowered statistical test, does not indicate con-
large B-cell lymphoma, chronic lymphocytic leukemia/small              sistency of results. For NHL subtypes, RR estimates also were
lymphocytic lymphoma, follicular lymphoma, and hairy-cell              variable, except for diffuse large B-cell lymphoma, for which
leukemia) included only two studies. The small number of               both estimates were close to 1.0. Only one statistically signiﬁcant
available studies limits the robustness of the estimated meta-         positive association was detected (for chronic lymphocytic leuke-
RRs, as well as the ability to perform informative sensitivity         mia/small lymphocytic lymphoma),[14] and this result was con-
analysis and evaluation of heterogeneity and publication bias.         tradicted by a non-signiﬁcant inverse association in the other
Even with 10 contributing studies (which we lacked), the statis-       study of this outcome.[17] No signiﬁcant associations with ever
tical power to detect modest heterogeneity using Cochran’s Q           use of glyphosate were detected for HL, MM, or leukemia, and
statistic is “low.”[42] The small number of studies also provides      for MM the RR point estimates varied by more than two-fold.
little opportunity to qualitatively investigate possible sources of    Results for MM in the Agricultural Health Study were internally
heterogeneity by subject characteristics or study design. Thus,        inconsistent;[12,26] and the positive association with cumulative
the results of the meta-analyses and related statistical tests         glyphosate exposure probably was due largely to selection bias.
reported here should be interpreted cautiously in light of the             Numerous associations have been hypothesized between
sparse and possibly selectively published literature, as well as       glyphosate exposure and diverse health outcomes, and between
the high potential for bias and confounding in most of the             various exposures and risk of NHL, NHL subtypes, HL, MM,
available studies.                                                     or leukemia. Thus, the putative associations are not speciﬁc to
                                                                       either the exposure or any of the outcomes. As noted by Brad-
                                                                       ford Hill,[46] “diseases may have more than one cause” and
Overall evaluation
                                                                       “one-to-one relationships are not frequent”; therefore, a lack of
The validity of the meta-RRs for glyphosate use and LHC risk           speciﬁcity does not detract from a causal hypothesis.
reported here and by others[11] is uncertain because systematic            In case-control studies, where exposure assessment was
error due to bias and confounding cannot reasonably be ruled           retrospective, a temporal sequence was not deﬁnitively estab-
out as explanations for the observed associations (including           lished with glyphosate use preceding the time of disease
both positive and null associations). In addition, an evaluation       onset. Although some studies attempted to exclude use close
of the association between glyphosate exposure and risk of             to the time of case diagnosis (or enrollment, for con-
LHC based on the Bradford Hill viewpoints[46] does not favor a         trols),[14,15,30] in practice individuals may not accurately
causal relationship with NHL, any NHL subtype, HL, MM, or              recall the timing of use. Only the prospective Agricultural
leukemia. These nine viewpoints are strength, consistency,             Health Study[12,26] was designed to collect information on
speciﬁcity, temporality, biological gradient, plausibility, coher-     glyphosate use prior to cancer ascertainment. However, the
ence, experiment, and analogy.                                         authors did not exclude malignancies diagnosed close to
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(e.g., within one year of) study enrollment, nor did they            exposures, they cannot be explained only by glyphosate expo-
report the distribution of diagnoses with respect to time            sure. Likewise, the recent worldwide increase (followed by a
since ﬁrst use of glyphosate. Thus, some preclinical cancers         plateau or decline) in NHL incidence began before the
may have existed prior to study entry and, possibly, prior to        1970s[91,92]—although any impact of glyphosate on NHL inci-
at least some reported glyphosate use.                               dence trends might be obscured by stronger risk factors. No
    As discussed in detail earlier, in the three studies of NHL      marked increase in the incidence of HL, MM, or leukemia has
with information on frequency, intensity, and/or duration of         been observed in parallel with the introduction and expansion
glyphosate use,[12,14,16] a positive biological gradient was not     of glyphosate use.[93–96]
consistently demonstrated and was notably lacking in the Agri-          Finally, numerous analogies exist to support or oppose the
cultural Health Study,[12] which had the most detailed exposure      hypothesis of a causal link between glyphosate exposure and
information (Table 2). One case-control study[33] and one pro-       risk of LHC. On balance, such analogies do not strengthen or
spective cohort study[12] of MM reported results suggesting a        weaken a conclusion of causality.
positive biological gradient with glyphosate use, but the alterna-      In summary, although none of the Bradford Hill viewpoints
tive analysis of the Agricultural Health Study data[26] did not      can establish or disprove causality, we did not ﬁnd compelling
demonstrate such a trend. No data were available to evaluate         evidence in support of causality based on any of the nine view-
exposure-response trends between glyphosate and risk of NHL          points. Thus, on balance, the existing epidemiologic evidence
subtypes or HL, and the single study with such data for leuke-       does not favor a causal effect of glyphosate on NHL, HL, MM,
mia found no apparent trend.[12]                                     leukemia, or any subtype of these malignancies.
    Inhalation exposure to glyphosate from agricultural or resi-
dential uses is likely to be slight due to glyphosate’s extremely
                                                                     Discussion
low vapor pressure.[82] Although dermal contact can be consid-
erable, the very low skin penetrability of glyphosate[83] should     Our meta-analysis yielded borderline signiﬁcant RRs of 1.3 and
result in minimal, if any, biologically absorbed dose. A study of    1.4 between glyphosate use and risk of NHL and MM, respec-
farm families with a lower limit of detection of 0.001 mg/mL (1      tively, and no signiﬁcant association with risk of HL or leuke-
ppb) found that 40% of glyphosate applicators had undetect-          mia. Based on more fully adjusted RRs, our NHL meta-RR of
able urinary glyphosate, which reﬂects all routes of exposure        1.3 (95% CI D 1.0–1.6) was weaker than that reported by Schi-
(dermal, inhalation, and oral).[84] Among those with detectable      nasi and Leon[11] (RR D 1.5, 95% CI D 1.1–2.0). The largest
urinary glyphosate, the distribution of concentrations was right     meta-RR of 2.5 (for hairy-cell leukemia) and the only meta-RR
skewed, with a peak geometric mean concentration of                  with a lower 95% conﬁdence limit that excluded 1.0 (for B-cell
0.0032 mg/mL (3.2 ppb) on the day of application and declining       lymphoma) were based on only two studies each, and the maxi-
thereafter. A review of seven human biomonitoring studies of         mum number of studies contributing to any meta-analysis was
glyphosate (including[84]) yielded the conclusion that “no           six. The few studies with available data did not consistently
health concern was revealed because the resulting exposure           detect positive exposure-response trends between quantitative
estimates were by magnitudes lower” than the science-based           measures of glyphosate use and risk of any LHC.
acceptable daily intake and the acceptable operator exposure             Consideration of the available epidemiologic evidence in light
level proposed by EFSA.[85] Glyphosate is usually applied in         of the Bradford Hill viewpoints does not substantiate a causal
agricultural operations only a few days per year. Given the low      relationship between glyphosate exposure and risk of any type of
biological dose of glyphosate that is expected to be sustained,      LHC. A conclusion in favor of causality also is undermined by
along with the lack of information on the mechanism of carci-        the studies’ methodological limitations, which could reasonably
nogenesis that may exist in humans, the biological plausibility      account for at least part of the observed associations. These limi-
of LHC development due to typical glyphosate exposure has            tations include exposure misclassiﬁcation (which may differ by
not been established.                                                outcome status especially in case-control studies, which consti-
    IARC recently determined based on their process that there       tute nearly all available studies), selection bias (due to differential
is “sufﬁcient” evidence of carcinogenicity of glyphosate in          enrollment, follow-up, or data completeness), poor adjustment
experimental animals and mechanistic evidence of genotoxicity        for confounding (by other agricultural exposures, for instance),
and oxidative stress.[6] By contrast, U.S. EPA,[86] JMPR,[3]         small numbers (which lead to low statistical power as well as a
BfR,[1] EFSA,[9] and others[87,88] concluded that glyphosate         higher probability that a statistically signiﬁcant ﬁnding is
does not have genotoxic, mutagenic, or carcinogenic effects in       false[97]), and potential reporting and publication bias. Although
in vivo animal and in vitro studies, and that the negative ﬁnd-      underpowered statistical tests did not formally detect publication
ings constitute evidence against carcinogenicity. Given these        bias, we identiﬁed several examples of studies with available data
widely divergent opinions, one cannot unambiguously con-             that did not report associations between glyphosate use and LHC
clude whether the scientiﬁc evidence is coherent with the            risk, and these unreported associations were most likely null.
hypothesis that glyphosate causes any or all LHC.                        Underpowered statistical tests also generally did not detect
    No true experimental evidence exists regarding the associa-      heterogeneity of results among studies, except for chronic lym-
tion between glyphosate exposure and risk of LHC in humans.          phocytic leukemia/small lymphocytic lymphoma and MM.
However, positive associations between farming and risk of           Nevertheless, our sensitivity analysis revealed some evidence of
LHC were detected prior to 1974, when glyphosate was ﬁrst            stronger associations with NHL risk in studies based in Sweden
commercially marketed.[89,90] Thus, if the apparent associations     and those that ascertained cases in the 1980s, whereas the
between farming and risk of LHC are due to causal agricultural       meta-RRs for studies that ascertained cases in the 2000s were
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close to the null and statistically non-signiﬁcant The stronger        glyphosate, duration of use, and time since last use, could
association with NHL diagnosed in the 1980s raises questions           help to shed light on the exposure-outcome relationship.
about whether glyphosate, an agent ﬁrst introduced in 1974 in          Results from additional prospective cohort studies are nec-
the United States and Europe, could plausibly cause lymphoma           essary to alleviate concerns about selection and reporting
less than a decade later. However, deliberation on the potential       bias in case-control studies.
induction time requires an understanding of the presumed                   More speciﬁc outcome classiﬁcation also is needed. Only two
mechanism of carcinogenesis, which is unknown for glypho-              studies[14,17] examined associations between glyphosate use and
sate. The classiﬁcation system for lymphoid tumors underwent           more than one histological subtype of NHL, despite growing evi-
major changes in 1994 and 2001,[20] such that the deﬁnition of         dence of important etiologic heterogeneity among NHL sub-
NHL as a disease entity is not entirely comparable between             types.[74] Information on NHL subtypes also is available in the
recent studies and those conducted in the 1980s. Study quality         Agricultural Health Study,[66] and publication of risk associa-
also may have improved over time, for example, due to reﬁne-           tions with glyphosate is anticipated. Risk factors for HL and leu-
ments in survey design, interviewing techniques, data manage-          kemia also are known to differ by subtype,[76,77] yet no studies
ment, and other methods to augment data integrity.                     estimated associations with glyphosate separately for subtypes of
    The stronger association in Swedish studies probably is not        these tumors. (Chronic lymphocytic leukemia and hairy-cell leu-
explained by geographical differences in glyphosate use or             kemia, which were analyzed as distinct outcomes, are classiﬁed
effect modiﬁers related to NHL risk. One possible explanation          as NHL subtypes.[20]) Large, probably pooled studies with histo-
is that of the six NHL studies, only the two Swedish stud-             pathological data can determine whether associations with spe-
ies[14,15] compared subjects who used glyphosate with those            ciﬁc tumor subtypes might be obscured by analyzing overall
who did not use any pesticides as the reference group, whereas         NHL, HL, MM, or leukemia as a single disease entity.
the other studies deﬁned the reference group as those who did
not use glyphosate in particular. Comparisons with subjects
who do not use any pesticides are more likely to be confounded         Conclusion
by other pesticides and agricultural exposures.                        In conclusion, we found marginally signiﬁcant positive meta-
    Meta-analysis can be problematic when applied to observa-          RRs for the association between glyphosate use and risk of
tional epidemiology.[21,22] Meta-analysis increases statistical        NHL and MM, and statistically null associations with HL and
precision by combining results from studies that may differ            leukemia. A statistically signiﬁcant positive meta-RR for B-cell
substantially in terms of source population, exposure and out-         lymphoma, but not other NHL subtypes, was calculated based
come assessment and classiﬁcation, control for confounding,            on only two studies. Combining these results with recognition
and other key characteristics. In the presence of such heteroge-       of the methodological weaknesses of the small number of exist-
neity, even if not detectable using formal statistical tests, a sin-   ing studies and an overall body of literature that is not strong,
gle summary estimate may not be scientiﬁcally meaningful.              consistent, temporally unambiguous, or indicative of a positive
Additionally, even when studies are statistically homogeneous,         biological gradient, we determined that no causal relationship
meta-analysis may not yield valid results, since this technique        has been established between glyphosate exposure and risk of
cannot overcome problems in the design and conduct of the              NHL, HL, MM, leukemia, or any subtype of LHC.
underlying studies. Instead, given that bias can seldom be ruled
out and unmeasured and uncontrolled confounding can never
be eliminated from observational epidemiologic studies, modest         Acknowledgments
meta-RRs detected across multiple studies may simply be due            The authors thank John Acquavella and Thomas Sorahan for their
to shared biases, rather than a true association.[21] As stated        thoughtful comments on earlier drafts of this manuscript, and Bernard
earlier, the purpose of meta-analysis is not to evaluate whether       Beckerman for his technical review of the tables.
associations are causal. We conducted a meta-analysis primar-
ily for comparison with published ﬁndings.
                                                                       Funding
    Considering the shortcomings of the existing literature,
what can be done to shed further light on whether glypho-              This work was supported by Monsanto Company, the original producer
sate causes LHC in humans? Perhaps the foremost need is                and marketer of glyphosate formulations.
better exposure assessment. Self-reported information on
use of speciﬁc pesticides, unless validated by comparison
                                                                       Disclosure statement
with sales records (which most likely would need to be col-
lected prospectively, and might not be closely correlated              The sponsors were provided the opportunity to review the manuscript
with pesticide use) or other objective documentation, is not           prior to journal submission, but inclusion of their suggestions was left to
                                                                       the discretion of the authors, who retained sole control of the manuscript
sufﬁciently accurate and reliable to yield credible estimates          content and the ﬁndings. Statements in this paper are those of the authors
of association, especially exposure-response trends. Urinary           and not those of the authors’ employer or the sponsors. The authors are
glyphosate levels would provide more accurate and quanti-              employed by Exponent, a scientiﬁc research and consulting ﬁrm that pro-
tatively detailed information on biological dose of glypho-            vides services for private and governmental clients, including on projects
sate received, but would probably have to be measured                  concerning glyphosate and other pesticides. In the past ﬁve years, Ellen
                                                                       Chang has provided consulting services through Exponent on behalf of
repeatedly to reﬂect long-term exposure.                               Monsanto Company on other issues, and she also has provided consulting
    Information about temporal aspects of glyphosate expo-             services on other pesticides and lymphohematopoietic cancers for other
sure, such as the putative induction time since ﬁrst use of            clients.
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Appendix

Literature search methods                                                               As of June 23, 2015, this search string identiﬁed a total of
                                                                                    11,755 articles in PubMed. We conducted additional targeted
The authors conducted a search of MEDLINE via PubMed
                                                                                    searches in PubMed, Web of Science, and Google Scholar using
using the following search string, which includes Chemical
                                                                                    simpler keyword combinations such as (glyphosate AND lym-
Abstracts Service (CAS) Registry Numbers for glyphosate and
                                                                                    phoma), (pesticides AND lymphoma), and (herbicides AND lym-
its salts:
                                                                                    phoma). References also were identiﬁed from the bibliographies
    (glyphosat OR glifosat OR glyfosat OR gliphosat
                                                                                    of recent review articles.
OR Roundup OR Round-up OR 1071-83-6 OR 38641-94-0 OR
                                                                                        Altogether, a total of 12,709 articles were identiﬁed from these
70901-12-1 OR 39600-42-5 OR 69200-57-3 OR 34494-04-7 OR
                                                                                    combined sources (Fig. A1). Based on a review of titles and abstracts,
114370-14-8 OR 40465-66-5 OR 69254-40-6 OR (aminomethyl
                                                                                    321 articles were identiﬁed as potentially containing estimates of the
w phosphonic) OR 1066-51-9 OR pesticid OR herbicid OR
                                                                                    association between glyphosate exposure and LHC risk, and were
organophosphorus compounds [MeSH] OR pesticides [MeSH]
                                                                                    obtained for further evaluation. Forty-seven of these articles con-
OR herbicides [MeSH]) AND (leukemi OR leukaemi OR
                                                                                    tained the word “glyphosate” or “Roundup” (or alternative spellings
lymphoma OR NHL OR lymphopoietic OR hemato OR hema-
                                                                                    of these terms) in the text; as speciﬁed earlier, articles that did not
topoie or hematolog OR lymphoid OR myeloid OR myeloma
                                                                                    mention glyphosate were ineligible for inclusion. Following a review
OR leukemia [MeSH] OR lymphoma [MeSH] OR multiple mye-
                                                                                    of the full text of each of the 47 articles mentioning glyphosate, 19
loma [MeSH]) AND (cases OR controls OR case-control OR
                                                                                    articles were ultimately deemed eligible for inclusion.
cohort).
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Figure A1. Flow chart of literature identiﬁcation and selection process.
